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  18                               UNITED STATES DISTRICT COURT
  19                             CENTRAL DISTRICT OF CALIFORNIA
  20   VANCOUVER ALUMNI ASSET                                  Case No. 16-cv-02942-SJO-KS
       HOLDINGS INC., Individually and on
  21   Behalf of All Others Similarly Situated,
                                                               CONSOLIDATED CLASS
  22                            Plaintiffs,                    ACTION COMPLAINT FOR
                                                               VIOLATIONS OF THE FEDERAL
  23                   v.                                      SECURITIES LAWS
  24   DAIMLER AG, MERCEDES-BENZ
       USA, LLC, DIETER ZETSCHE,                               Judge: Hon. S. James Otero
  25   BODO UEBBER, and THOMAS
       WEBER,
  26
                                Defendants.
  27
  28
       CONSOLIDATED CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
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   1   MARIA MUNRO, Individually and on                         Case No. 16-cv-03412-SJO-KS
       Behalf of All Others Similarly Situated,
   2
                                 Plaintiffs,
   3
                        v.
   4
       DAIMLER AG, MERCEDES-BENZ
   5   USA, LLC, DIETER ZETSCHE,
       BODO UEBBER, and THOMAS
   6   WEBER,
   7                             Defendants.
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   1            Court-appointed Lead Plaintiff the Public School Retirement System of the
   2   School District of Kansas City, Missouri (“Lead Plaintiff” or “Kansas City”),
   3   individually and on behalf of all persons and entities that, during the period from
   4   February 22, 2012 through April 21, 2016, both dates inclusive, (the “Class
   5   Period”), purchased or otherwise acquired Daimler AG American Depositary
   6   Receipts and were damaged thereby (the “Class”),1 by and through its attorneys,
   7   as and for its Consolidated Class Action Complaint (the “Complaint”) asserting
   8   claims against Daimler AG (“Daimler” or the “Company”) and the individual
   9   defendants named below (together with Daimler, the “Defendants”), alleges the
  10   following upon information and belief, except as to those allegations concerning
  11   Plaintiff, which are alleged upon personal knowledge.
  12            Lead Plaintiff’s information and belief concerning matters other than itself
  13   and its own acts are based upon, among other things, a review and analysis by
  14   Lead Plaintiff’s counsel of: financial reports available to the investing public
  15   through Daimler’s corporate Investor Relations website; regulatory filings and
  16   reports; securities analysts’ reports and advisories about the Company; press
  17   releases and other public statements issued by Defendants; media and news
  18   reports related to Daimler; data and other information concerning Daimler
  19   securities; other publicly available information concerning the Company and the
  20   Individual Defendants; an investigation conducted by and through Lead
  21   Plaintiff’s attorneys and their investigators; and consultation with an industry
  22   expert in automotive engineering, diesel engine design and operation, diesel
  23   engine emissions standards, and diesel emissions control systems. Lead Plaintiff
  24
            1
  25          Excluded from the Class are: (i) Defendants; (ii) the present and former
       executive officers of Daimler AG and its wholly owned subsidiaries; (iii) the
  26   present and former members of Daimler’s Board of Management; (iv) members
       of the immediate families (as defined in 17 C.F.R. § 229.404, Instructions
  27   (1)(a)(iii) and (1)(b)(ii)) of the foregoing excluded persons; (v) any entity in
       which any Defendant has or had a controlling interest; (vi) any subsidiary or
  28   affiliate of Daimler AG; (vii) and the legal representatives, heirs, successors, or
       assigns of any of the foregoing excluded individuals and entities.
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   1   believes that substantial additional evidentiary support will exist for the
   2   allegations set forth herein after a reasonable opportunity for discovery.
   3   I.       NATURE OF THE ACTION
   4            1.     This is a federal securities class action brought by Lead Plaintiff on
   5   behalf of a class consisting of all persons and entities that purchased or otherwise
   6   acquired Daimler American Depositary Receipts2 during the Class Period seeking
   7   to recover compensable damages caused by Defendants’ violations of federal
   8   securities laws and pursue remedies under the Securities Exchange Act of 1934
   9   (the “Exchange Act”). Daimler established a sponsored Level I ADR program in
  10   September 2010, which trades on over-the-counter markets in the United States;
  11   Deutsche Bank Trust Company Americas serves as the acting depository bank for
  12   the ADRs at issue here: those utilizing the ticker symbols DDAIF and DDAIY
  13   (the “Daimler ADRs”).
  14            2.     This action arises out of Defendants’ misrepresentations and
  15   fraudulent course of conduct surrounding Daimler’s diesel car and van emissions
  16   control systems, also known as BlueTEC. The Company claimed throughout the
  17   Class Period that its BlueTEC passenger and light-duty vehicle offerings were
  18   “the cleanest diesel cars in the world,” and that BlueTEC made its “diesel [cars]
  19   as clean as a state-of-the-art gasoline engine.”
  20            3.     Despite these affirmative statements, however, numerous tests
  21   performed by regulatory agencies and non-governmental organizations during
  22   and after the Class Period demonstrated that when tested in on-road conditions
  23   under normal use, the Company’s supposedly “clean diesel” vehicles using
  24   BlueTEC were spewing significantly more exhaust emissions than permitted
  25
  26        2
              An American Depository Receipt (“ADR”) is a U.S. dollar denominated
  27   form of equity ownership in a non-U.S. company. It represents the foreign shares
       of a company held on deposit by a custodian bank in the company’s home
  28   country and carries the corporate and economic rights of the foreign shares,
       subject to the terms specified on the ADR certificate.
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   1   pursuant to regulations enacted by the European Union (the “E.U.”) and the
   2   United States.
   3           4.       Moreover, when Daimler was scrutinized publicly regarding rumors
   4   of these practices, Defendants denied that the Company’s vehicles used a “defeat
   5   device”—a technological manipulation designed specifically to meet regulatory
   6   emissions requirements in a testing environment—even though they knew that
   7   BlueTEC vehicles’ emissions control systems had been engineered to be fully
   8   operational only in ambient temperatures above 50                           (10 ), i.e., in an ideal
   9   testing environment divorced from the realities of on-road, normal use driving
  10   conditions in much of the world, including the United States and Europe.
  11           5.       Diesel emissions were thrust into the public spotlight on September
  12   18, 2015, when the U.S. Environmental Protection Agency (the “EPA”) issued a
  13   notice of violation of the Clean Air Act to Volkswagen AG (“VW”) after finding
  14   that VW had programmed its diesel passenger vehicles to detect when those
  15   vehicles were being tested for emissions compliance, and to activate emissions
  16   control systems only during these testing scenarios. The use of such a defeat
  17   device is a violation of U.S. regulations. The EPA specifically found that the VW
  18   vehicles using defeat devices to pass requisite regulatory testing emitted up to 40
  19   times higher exhaust emissions than permitted under applicable regulations.
  20           6.       Almost immediately, several sources reported that Daimler had also
  21   manipulated the software governing its diesel passenger car emissions control
  22   systems such that they were engaged (i.e., actually reducing raw diesel emissions)
  23   under conditions present in controlled regulatory testing, but were disengaged or
  24   deactivated under many conditions present during on-road, normal use driving.
  25   The Company immediately and emphatically denied that Daimler vehicles used
  26   defeat devices or otherwise manipulated emissions control systems to pass
  27   regulatory emissions testing.              Nevertheless, on this news, shares of Daimler
  28
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   1   ADRs dropped approximately 7% on September 22, 2015 on heavy trading, with
   2   DDAIF falling $5.38 per share and DDAIY falling $5.44 per share.
   3           7.       Moreover, even as Daimler continued to deny the use of defeat
   4   devices and manipulation of emissions control systems, it became clear that the
   5   Company had specifically designed BlueTEC to deactivate or disengage diesel
   6   emissions controls when ambient temperatures fell below approximately 50 .
   7   Indeed, 50       was neither accidental nor arbitrary, but instead was chosen to take
   8   advantage of highly regulated emissions testing protocols (well-known to
   9   Defendants and Daimler engineers) which tested emissions compliance only in
  10   ambient temperatures near or above 70 . The fact that Daimler diesel cars’
  11   emissions control systems were deactivated below 50                          (a common temperature
  12   in many of the Company’s key European and American markets) demonstrated
  13   that Daimler’s emissions control systems were not actually reducing diesel
  14   emissions under conditions present during a significant percentage of on-road,
  15   normal use driving.
  16           8.       Following the initial accusations against Daimler made in September
  17   2015, numerous governmental regulatory authorities and other non-governmental
  18   organizations disclosed the results of their independent investigations into the
  19   actual volume of pollutant emissions from diesel cars and light-duty vehicles,
  20   including several Daimler models.                    Nearly every report found that, when
  21   measuring emissions in conditions that deviated from those used in formal,
  22   regulatory testing (but well within the range of on-road, normal use), Daimler
  23   diesel vehicles emitted pollutants many multiples higher than permitted under
  24   applicable regulations.
  25           9.       Of particular concern to the EPA and other emissions regulatory
  26   authorities was nitrogen oxides (“NOx”), some of the most concerning primary
  27   components of diesel exhaust. NOx are subject to increasingly strict regulatory
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    1   limits, primarily because when NOx emissions react with ambient air in the
    2   presence of sunlight, they form ground-level ozone, one of the key components of
    3   smog. Although smog generally presents itself in the form of an unsightly brown
    4   soup of pollutants, it has also been shown to cause and aggravate serious
    5   respiratory problems, and can increase the risks of certain cancers.
    6           10.      The findings of the governmental regulatory authorities and other
    7   non-governmental organizations were important because they demonstrated that
    8   while Daimler’s vehicles may have passed regulatory emissions tests, they were
    9   not complying with the clear intent of the applicable NOx regulations. Regulators
   10   did not merely want diesel vehicles to minimize NOx emissions during testing—
   11   they wanted the vehicles to emit minimal NOx on the open road.
   12           11.      As pressure began to mount, Daimler fell under increasing regulatory
   13   scrutiny. On February 26, 2016, the EPA requested that the Company supply
   14   information—including emissions testing results—concerning Daimler vehicles’
   15   emissions control systems.
   16           12.      The Company’s denials continued, and regulatory scrutiny increased.
   17   On April 21, 2016, the Company announced that the U.S. Department of Justice
   18   (“DOJ”) had requested Daimler to conduct an internal investigation to “review its
   19   certification and admissions process related to exhaust emissions in the United
   20   States.”
   21           13.      That same day, the German Federal Motor Transport Authority, also
   22   known as KBA, announced that at least two different Mercedes-Benz models
   23   used defeat devices, and that the authority believed that those defeat devices were
   24   not justified by the Company’s previous excuses that those defeat devices were
   25   necessary to protect the vehicles’ engines.
   26           14.      As a final punch, multiple news outlets reported on April 22, 2016
   27   that, along with other German automakers, Daimler was recalling 247,000
   28
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    1   vehicles in Germany to fix emissions issues by “tweak[ing] diesel engine
    2   software [] blamed for causing high pollution.” Alexander Dobrindt, German
    3   Transport Minister, made clear that the recall was to redress the findings
    4   disclosed in the April 21, 2016 KBA report (that Daimler had used defeat
    5   devices), stating that the recall was intended to “fix a device that turns off
    6   emissions controls at particular temperatures as a means to protect the engine,”
    7   but that the “temperature thresholds at which the controls shut down weren’t
    8   justified.” Over the course of April 21 and 22, 2016, shares of Daimler ADRs fell
    9   approximately 5%, with DDAIF falling $3.79 per share and DDAIY failing $3.94
   10   per share.
   11   II.     JURISDICTION AND VENUE
   12           15.      The claims asserted herein arise under and pursuant to §§ 10(b) and
   13   20(a) of the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and the rules and
   14   regulations promulgated thereunder by the SEC, including Rule 10b-5, 17 C.F.R.
   15   § 240.10b-5.
   16           16.      This Court has jurisdiction over the subject matter of this action
   17   under 28 U.S.C. § 1331 and § 27 of the Exchange Act, 15 U.S.C. § 78aa.
   18           17.      Venue is proper in this District pursuant to § 27 of the Exchange Act
   19   (15 U.S.C. § 78aa) and 28 U.S.C. § 1391(b), as Daimler’s subsidiary responsible
   20   for testing and regulatory affairs conducts business in Long Beach, California,
   21   from offices located within this District, and a significant portion of the
   22   Defendants’ actions, and resulting damages, took place within this District.
   23           18.      In connection with the acts, conduct and other wrongs alleged in this
   24   Complaint,        Defendants,         directly     or     indirectly,      used     the   means   and
   25   instrumentalities of interstate commerce, including but not limited to, the mails,
   26   interstate telephone communications, and the facilities of the national securities
   27   markets.
   28
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    1   III.       PARTIES
    2              A.    Lead Plaintiff
    3              19.   Lead Plaintiff Public School Retirement System of the School
    4   District of Kansas City, Missouri was created in 1944 and provides retirement and
    5   other benefits for employees of the Kansas City, Missouri School District and
    6   certain other public employers.        As of July 5, 2016, Kansas City oversaw
    7   approximately $668 million in assets for approximately 3,500 members and their
    8   beneficiaries. Kansas City purchased Daimler ADRs during the Class Period, as
    9   set forth in the certification previously filed with the Court (see ECF No. 15-1),
   10   and suffered damages as a result of the federal securities law violations alleged
   11   herein. By order dated July 20, 2016, the Court appointed Kansas City as the
   12   Lead Plaintiff in this action.
   13              B.    Defendants
   14              20.   Defendant Daimler, through its subsidiaries, develops, manufactures,
   15   distributes, and sells cars, vans, trucks, and buses worldwide. The Company is
   16   incorporated in Germany, and maintains its principal offices in Stuttgart,
   17   Germany.         Daimler operates in the United States through several American
   18   subsidiaries, including: Mercedes-Benz Research & Development North America,
   19   Inc.; Mercedes-Benz USA, LLC; Mercedes-Benz Vans, LLC; Mercedes-Benz
   20   Financial Services, USA LLC; Daimler Trucks North America LLC; and
   21   Mercedes-Benz US International.3
   22              21.   Defendant Mercedes-Benz USA, LLC (“MBUSA”) is incorporated
   23   in the State of Delaware, and since 2015 maintains its principal office at 303
   24   Perimeter Center N., Atlanta, Georgia 30346. Throughout the majority of the
   25   Class Period, MBUSA maintained its principal offices at 1 Mercedes Drive,
   26
   27          3
                 The terms “Mercedes-Benz” and “Mercedes” will be utilized
   28   interchangeably herein, and refer to those vehicles produced by Daimler’s
        predecessor entities under the Mercedes-Benz brand.
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    1   Montvale, New Jersey 07645. Founded in 1965, MBUSA distributes, markets,
    2   and provides customer service for, inter alia, all sales of Mercedes-Benz cars and
    3   Sprinter light-duty vehicles in the United States. At all relevant times throughout
    4   the Class Period, MBUSA was a wholly owned subsidiary of Daimler.
    5           22.      Defendant Dr. Dieter Zetsche (“Zetsche”) is and was, at all times
    6   throughout the Class Period, the Chairman of the Board of Management of
    7   Daimler AG and Head of Mercedes-Benz Cars Division. After studying electrical
    8   engineering, Zetsche graduated from the University of Karlsruhe as an engineer,
    9   and joined the research department of the Company (then named Daimler-Benz
   10   AG). In 1982, Zetsche obtained a doctorate in engineering from the University of
   11   Paderborn. Since originally joining Daimler in 1976, Zetsche has held a wide
   12   array of positions within the Company, including but not limited to: President of
   13   Mercedes-Benz Argentina; President of Freightliner (Daimler’s U.S. subsidiary
   14   that manufactures heavy-duty trucks, all or most of which utilize diesel engines);
   15   Chief Engineer of Development in Mercedes-Benz’s Passenger Cars Business
   16   Unit, and CEO and President of the Chrysler Group. These various roles exposed
   17   Zetsche to many aspects of operations at both Daimler and many of its
   18   subsidiaries, and provided Zetsche unprecedented exposure to the Company’s
   19   design philosophies and priorities, and technical capabilities of the Mercedes
   20   vehicles that utilize diesel emissions control systems, including but not limited to
   21   BlueTEC.         Notably, Zetsche has been a Member of Daimler’s Board of
   22   Management since at least 1995.
   23           23.      Zetsche made several false and misleading statements throughout the
   24   Class Period as a signatory of numerous Company annual financial reports, and in
   25   response to allegations that Daimler used a defeat device or otherwise
   26   manipulated emissions control systems.
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        CONSOLIDATED CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS   8
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    1           24.      Defendant Bodo Uebber (“Uebber”) is and was, at all times
    2   throughout the Class Period, a Member of the Board of Management of Daimler
    3   AG, and is responsible for Finance & Controlling and Mergers & Acquisitions for
    4   Daimler AG. He is also responsible for Daimler Financial Services Division, one
    5   of Daimler’s wholly owned subsidiaries. Uebber graduated from the Technical
    6   University of Karlsruhe after studying engineering and economics. He has held
    7   numerous positions of increasing responsibility since he originally joined one of
    8   Daimler’s corporate predecessors in 1985, including CFO and Chairman of the
    9   Board of Management of DaimlerChrysler Services AG, prior to being appointed
   10   as a Member of the Board of Management of Daimler in 2003.
   11           25.      Uebber made several false and misleading statements throughout the
   12   Class Period as a signatory of numerous Company annual financial reports, and in
   13   response to allegations that Daimler used a defeat device or otherwise
   14   manipulated emissions control systems.
   15           26.      Defendant Dr. Thomas Weber (“Weber”; together with “Zetsche,”
   16   and “Uebber,” the “Individual Defendants”) is and was, at all times throughout
   17   the Class Period, a Member of the Board of Management of Daimler AG and is
   18   responsible for Group Research & Mercedes-Benz Cars Development. After
   19   studying mechanical engineering, Weber graduated from the University of
   20   Stuttgart in 1980 as an engineer, and subsequently obtained a doctorate from the
   21   same university in 1987. Since originally joining the Company in 1987, Weber
   22   has held several positions at Daimler, including Director and Manager of several
   23   Company engine manufacturing plants, Manager of one of the Company’s
   24   passenger vehicle production facilities, and Vice President and Speaker for one of
   25   Mercedes-Benz’s models series. These various roles exposed Weber to many
   26   aspects of operations and Mercedes-Benz. Notably, Weber has been a Member of
   27   Daimler’s Board of Directors since 2003.
   28
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    1           27.      As Head of Mercedes Research and Development, Weber was
    2   instrumental to the development of BlueTEC and the Company’s efforts to meet
    3   emissions standards. Lauding Weber’s work in this capacity, the Chairman of the
    4   Company’s Supervisory Board stated that Weber “has shaped Research &
    5   Development at Daimler, and primarily at Mercedes-Benz Cars, for more than
    6   thirteen years,” and that Weber has “laid important foundations, [] renewed the
    7   entire product portfolio of passenger cars, and has prepared the company for the
    8   future of mobility.” He also stated that Weber “has [] played a major role in the
    9   present success of Mercedes-Benz Cars.”
   10           28.      Weber made several false and misleading statements throughout the
   11   Class Period as signatory of numerous Company annual financial reports.
   12           29.      Each of the Individual Defendants:
   13                        (a) directly participated in the management of the Company;
   14                        (b) was directly involved in the day-to-day operations of the
   15                            Company at the highest levels;
   16                        (c) was privy to confidential proprietary information concerning
   17                            the Company and its business operations;
   18                        (d) was directly or indirectly involved in drafting, producing,
   19                            reviewing and/or disseminating the false and misleading
   20                            statements and information alleged herein;
   21                        (e) was directly or indirectly involved in the oversight or
   22                            implementation of the Company’s internal controls;
   23                        (f) was aware of, or with deliberate recklessness disregarded, the
   24                            fact that the false and misleading statements were being issued
   25                            concerning the Company; and/or
   26                        (g) approved or ratified these statements in violation of the federal
   27                            securities laws.
   28
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    1           30.      Daimler is liable for the acts of the Individual Defendants and the
    2   Company’s other employees (and/or agents) under the doctrine of respondeat
    3   superior and common law principles of agency, because all of the wrongful acts
    4   complained of herein were carried out within the scope of any such employees’
    5   employment responsibilities and obligations.
    6           31.      The scienter of the Individual Defendants and the Company’s other
    7   employees (and/or agents) is similarly imputed to Daimler under respondeat
    8   superior and agency principles.
    9   IV.     FACTUAL BACKGROUND AND SUBSTANTIVE ALLEGATIONS
   10           A.       Diesel Cars Were a Cornerstone of Daimler’s Growth
   11           32.      Diesel engines have played an instrumental role in Daimler’s growth.
   12   Mercedes-Benz introduced its first diesel car, the 260D model sedan, in 1936.
   13   Since then, the Company has pursued a corporate strategy focusing on diesel
   14   engine vehicles as a greater percentage of its fleet compared to many of its
   15   competitors because diesel engines deliver more torque (the amount of power an
   16   engine puts out at any specific engine speed) and significantly better fuel
   17   economy than comparable gasoline engines, among other reasons.
   18           33.      Daimler’s corporate pursuit of the diesel car market thus benefited
   19   from the tightening of emissions regulations on carbon dioxide, an exhaust gas
   20   that is produced in significantly greater levels in gasoline vehicles of comparable
   21   capability.      Beginning in the 1990s, Europe and the United States reduced
   22   drastically the acceptable levels of carbon dioxide emissions from vehicles.
   23   Diesel vehicles thus became an attractive alternative to gasoline, since gasoline-
   24   powered engines emit significantly greater levels of carbon dioxide than diesel-
   25   powered vehicles for the same net power output.
   26           34.      While Japanese and U.S. automakers sought to meet these stringent
   27   carbon dioxide standards primarily by focusing development on hybrid and
   28
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    1   electric cars, Daimler (and several other major German automakers) lobbied
    2   strongly to incentivize the sale of diesel engine passenger vehicles. Daimler’s
    3   efforts were successful; many European nations offered (and continue to offer)
    4   subsidies and other financial incentives for consumers to choose diesel vehicles.
    5   For example, many governments have kept the price of diesel fuel lower than that
    6   of gasoline, or offered tax incentives to consumers choosing diesel over gasoline.
    7   Simon Birkett, director of Clean Air London, described these changes in the
    8   Taipei Times as “practically an order to switch to diesel,” and noted that “[t]he
    9   European car fleet was transformed from being almost entirely petrol to
   10   predominantly diesel.”
   11           35.      Daimler’s long-standing advocacy of diesel vehicles, paired with
   12   more stringent regulations focused on gasoline vehicles’ emissions, and
   13   Daimler’s lobbying efforts to make diesel more attractive, allowed the Company
   14   to benefit from a dramatic increase in the adoption of diesel cars in the E.U.
   15   Whereas diesel cars represented less than 10% of the European car fleet until the
   16   mid-1990s, by 2012 approximately 55% of all newly registered passenger
   17   vehicles in Europe were diesel. In some countries, such as Belgium, France, and
   18   Spain, diesel adoption was as high as 65% of new passenger car registrations by
   19   2013.
   20           36.      Moreover, Daimler’s corporate strategy of focusing on diesel engine
   21   vehicles paid off. By 2011, more than 60% of the Mercedes-Benz’s cars sold in
   22   Europe used diesel engines, and therefore Daimler’s increased diesel car sales in
   23   Europe had a significant positive impact on Daimler’s financial position and
   24   profitability.      By 2012, nearly 35% of the Company’s revenues came from
   25   countries in Western Europe (including high diesel adoption countries such as
   26   Belgium, France, and Spain).
   27
   28
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    1           37.      Prior to the Class Period, Mercedes also significantly expanded its
    2   sales of diesel cars and light-duty vehicles in the United States. Daimler publicly
    3   declared that the U.S. presented significant further growth potential, especially in
    4   light of increasing focus on fuel efficiency and emissions reduction. The U.S.
    5   market also accounted for a substantial portion of Company revenues. By 2012,
    6   approximately 24% of the Company’s revenues came from sales in the United
    7   States.
    8           38.      But E.U. and U.S. regulators’ focus on carbon dioxide emissions
    9   shifted following significant increase in market share enjoyed by diesel car
   10   manufacturers, including Daimler. The growing prominence of diesel vehicles
   11   subsequently led to tighter regulations on pollutants emitted in significantly
   12   greater quantities by diesel engines.
   13           B.       Regulators Enacted More Stringent Emissions Standards After
                         Recognizing the Threats to Human Health and the Environment
   14                    Posed by Diesel Pollutants
   15           39.      Although diesel engines provide more torque and fuel efficiency
   16   than their gasoline counterparts (and emit significantly less carbon dioxide than
   17   equivalent gasoline engines), diesel engine vehicles in operation nonetheless emit
   18   significantly higher levels of a range of pollutants including nitrogen oxides. In
   19   fact, diesel vehicles emit up to four times as much NOx than their gasoline-
   20   powered counterparts at the same engine output power levels.
   21           40.      Given the harmful effects of unchecked or unremediated diesel
   22   emissions on human health and the environment, and the growing prominence of
   23   diesel engine vehicles emitting pollutants dangerous to human health, regulators
   24   in the U.S. and the E.U. responded with tightened standards controlling the
   25   acceptable levels of NOx emissions.
   26           41.      The United States acted first to significantly curtail NOx exhaust
   27   emissions. The regulations in force prior to and during the Class Period are
   28
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    1   known as the Tier 2 regulations, promulgated by the EPA pursuant to the Clean
    2   Air Act of 1970 (and its various amendments). Tier 2 regulations went into full
    3   effect in 2007 and required automakers to maintain a fleet average of less than 70
    4   mg per mile of NOx emissions across their diesel engine passenger and light duty
    5   fleet throughout the vehicles’ useful lives, with even more stringent limitations
    6   for the first 50,000 miles of a vehicle’s life.
    7           42.      The implementation of Tier 2 regulations in the U.S. was a major
    8   threat to Daimler’s diesel business strategy. The preceding regulations in the U.S.
    9   had a NOx standard in the mid-1990s to mid-2000s of 1.25 g (1,250 mg) per mile
   10   for most diesel cars, so Tier 2 reduced the average permissible NOx exhaust
   11   emissions ceiling for any given automaker’s fleet by almost 95%.
   12           43.      In Europe, vehicle NOx emissions were primarily reduced through
   13   the introduction of Euro 5 and Euro 6 emissions standards (both of which were in
   14   effect for portions of the Class Period). Under Euro 5 (covering model years
   15   2009-13), cars and light-duty vehicles were required to emit less than 180 mg
   16   NOx per km (equivalent to 289.68 mg NOx per mile). However, the NOx ceiling
   17   was more than halved under Euro 6 (applicable to model years 2014 through the
   18   present), which required vehicles to emit less than 80 mg NOx per km (equivalent
   19   to 128.74 mg NOx per mile).
   20           44.      The graph below demonstrates just how significantly permissible
   21   NOx exhaust emissions were reduced from 1994 through the present.
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   12   “Emission Limits for Diesel Powered LDVs, NOx, and NMHC in the US
   13   (Light-duty vehicles and Trucks) and the EU (Passenger cars and Light
   14   commercial            vehicles),”     available       at    http://transportpolicy.net/index.php?
   15   title=Global_Comparison:_Light-duty_Emissions.
   16           C.       The Threat to Daimler’s Corporate Strategy and Daimler’s
                         Response to Tightening Emissions Standards for Diesel Vehicles
   17
                45.      The substantial reduction in NOx emissions required by the
   18
        implementation of Tier 2 emissions regulations in the U.S. presented a major
   19
        threat to Daimler’s business strategy. Furthermore, European regulators were
   20
        also concerned about the levels of NOx allowed under the prevailing Euro
   21
        regulations.
   22
                         1.       Daimler Devoted Resources to Meeting Stringent
   23                             Emissions Regulations in the U.S. and the European Union
   24           46.      Daimler knew the threat that these increasingly stringent NOx
   25   standards posed to their diesel vehicle strategy.                      If the Company could not
   26   convince regulators in the E.U. and the U.S. that their Mercedes-Benz diesel cars
   27   met the applicable standards, Daimler would not be able to sell those vehicles at
   28   all. This was especially important in light of Daimler’s long-term plans to make
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    1   its diesel cars more popular in the United States.                                  Defendant Weber
    2   acknowledged the Company’s focus on diesel in the American market when he
    3   remarked at the 2008 New York Auto Show that Daimler “want[ed] to make
    4   diesel driving popular here [in the U.S.] again – especially for SUVs.”
    5           47.      The Company was particularly conscious of the development of
    6   diesel emissions control systems necessary to comply with future anticipated
    7   reductions in regulatory limits of NOx and other exhaust pollutants, noting in its
    8   2005 Annual Report that BlueTEC – then only available in commercial vehicles –
    9   would be used in Mercedes’ diesel cars, and was “clearly playing a key role in
   10   making diesel-operated vehicles more environmentally friendly than ever before.”
   11           48.      These concerns would continue to garner significant attention within
   12   Daimler.       The Company’s 2013 Annual Report sought to quell investors’
   13   concerns by noting that Daimler’s Research and Development department’s
   14   “main projects were the continuous further development of engines with a focus
   15   on optimizing fuel consumption and complying with new emission standards
   16   . . . .” The Company also noted therein that it “expect[ed] to expend an even
   17   larger proportion of the research and development budget to ensure the fulfillment
   18   of these regulations.”
   19           49.      Defendants fully understood that compliance with these increasingly
   20   stringent emissions regulations presented the potential for material losses to the
   21   Company, and therefore to investors. If Daimler could not convince emissions
   22   regulators that the Company’s diesel vehicles were as clean as they claimed and
   23   as clean as new regulations required, Daimler would not be allowed to sell
   24   vehicles in the U.S. and E.U. The 2012 Annual Report (and all other annual
   25   reports issued by the Company during the Class Period), for example, noted that
   26   “[m]any countries have already implemented stricter regulations to reduce
   27   vehicles’ emissions and fuel consumption, or are now doing so.”
   28
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    1           50.      Defendant Zetsche demonstrated his understanding that diesel was
    2   key to the Company’s financial prospects when he told a crowd at the 2006
    3   Detroit Auto Show: “As a powerful, economical and clean drive system,
    4   BLUETEC can significantly help American drivers continue to enjoy large,
    5   powerful cars for many years to come…. BLUETEC diesel vehicles have the
    6   potential to meet the world’s most stringent exhaust emissions standards,
    7   including those of all 50 US States.” Thus, the Company and Defendant Zetsche
    8   were clearly concerned with, and understood the need to satisfy, the 95% NOx
    9   emissions reduction which would be required under Tier 2 regulations
   10   implemented in 2007.
   11           51.      Likewise, Defendant Weber, a member of the Daimler Board of
   12   Management and the head of research and development for Mercedes-Benz cars,
   13   echoed Defendant Zetsche, describing BlueTEC in 2006 as “the opportunity
   14   we’ve strived so long for” and noting that the improved diesel emissions control
   15   system was one factor which made the U.S. market ripe for diesel technology
   16   similar to that being adopted in Europe.
   17           52.      Weber went on in 2008 to make clear that Daimler’s overall
   18   corporate strategy was heavily dependent on the adoption of its “clean diesel”
   19   cars. At the 2008 New York Auto Show, he noted that “the BlueTEC campaign
   20   expresses [Daimler’s] ambitious targets for the U.S.,” and said that the Company
   21   “want[ed] to make diesel driving popular [in the U.S.] again . . . .”
   22                    2.      Regulatory Approval Was Necessary for Daimler to Sell
                                 Its Diesel Cars and Vans
   23
                53.      More specifically, Daimler (and any automaker) must obtain a
   24
        Certificate of Conformity in order to sell and market a vehicle in the U.S. in any
   25
        given model year. This is a certification that a particular vehicle model conforms
   26
        to all applicable emissions requirements for that model year. In order to obtain a
   27
        Certificate of Conformity, Daimler must submit vehicle information and data
   28
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    1   from emissions testing performed by the Company (or a certified third party paid
    2   by the Company). The EPA performs independent verification testing on only a
    3   small proportion of vehicles (through an auditing process) during this process,
    4   and does not otherwise routinely confirm the veracity of emissions testing data
    5   submitted by automakers such as Daimler.
    6           54.     Similarly, the E.U. requires Daimler (and other automakers) to
    7   obtain authorization from a national regulatory authority of a member state before
    8   being able to sell that vehicle in Europe; this process is called type approval, and
    9   consists of a request from an automaker to the regulator to confirm that a vehicle
   10   is in compliance with applicable E.U. emissions requirements. If the vehicle as
   11   tested demonstrates compliance with applicable emissions regulations, the
   12   national regulator certifies this, and all E.U. member states must then permit that
   13   vehicle to be sold in their domestic markets.
   14           55.     Under both sets of regulations, the emissions data required for a
   15   vehicle to be certified for sale is based on highly regulated laboratory tests of a
   16   vehicle on a dynamometer; in the U.S., this test includes the FTP-75, and in the
   17   E.U., it is known as New European Driving Cycle (“NEDC”).
   18           56.     Pursuant to U.S. regulations, the entire testing environment and
   19   specific test protocols for the FTP-75 are controlled. Thus, Daimler knows that if
   20   the EPA seeks to audit or otherwise verify those data from test results that the
   21   Company performed, the EPA test will occur indoors at room temperature, most
   22   likely at the EPA’s test facility in Ann Arbor, Michigan. The test is performed at
   23   a specific barometric pressure in a laboratory, at a temperature between 68-86 ,
   24   and consists of a specific series of well-established, publicly available
   25   accelerations and decelerations of the vehicle on the dynamometer.4
   26
   27       4
                Indeed, these criteria are so specific, and so well-known within the
   28   automotive industry that VW was able to manipulate its emissions control
        software so that it would detect testing by assessing the time the steering wheel
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    1           57.     Under Euro standards, the NEDC consists of pre-determined driving
    2   cycle performed on a dynamometer in a highly regulated laboratory environment,
    3   much like the FTP-75. The parameters of this test are also publicly available, and
    4   well-known to automakers and their engineers.
    5           58.     Thus, at precisely the time that regulations of diesel NOx emissions
    6   were becoming increasingly difficult to meet, Daimler knew that it needed to
    7   implement BlueTEC in its diesel vehicles in a manner that would beat the
    8   relevant emissions standards during testing.        The Company could not fail
    9   regulatory emissions tests, and risk being prohibited from selling its vehicles in
   10   the U.S. and E.U..
   11                   3.      Daimler’s BlueTEC Emissions Control System Allowed Its
                                Vehicles to Pass Regulatory Emissions Tests
   12
                59.     In 2006, Daimler introduced its BlueTEC system in diesel cars
   13
        precisely to address those growing concerns regarding compliance with the new
   14
        regulations.      Daimler describes its BlueTEC system as “[a] combination of
   15
        inner-engine measures to reduce emissions and the treatment of exhaust gases.”
   16
        The Company claims it “improves diesel engines’ efficiency by optimizing their
   17
        combustion, and reduces their emissions through exhaust-gas aftertreatment with
   18
        [Selective Catalytic Reduction] catalysts.”
   19
                60.     Although this may have been how the Company claimed BlueTEC
   20
        worked, the reality is that BlueTEC ultimately needed to be designed only to pass
   21
        highly regulated emissions tests, not to satisfy those regulations on the open road
   22
        under normal use.
   23
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   25
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   28   remained in the same position, duration of and specific thresholds for acceleration
        and deceleration, and other testing protocols.
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    1                   4.      Calibration Allowed Daimler to Design BlueTEC
                                Emissions Control Systems to Perform Effectively in
    2                           Formal Testing, but to Disengage in Road-Use, Normal
                                Driving Conditions
    3
                61.     In designing vehicles to comply with increasingly stringent exhaust
    4
        emissions regulations (and when programming software that governs the Engine
    5
        Control Unit and emissions control systems), engineers must balance maximizing
    6
        power and fuel economy with clean emissions concerns. This balance is achieved
    7
        by Daimler’s decisions made when designing the requisite software, and
    8
        calibrating the engine and emissions control system.
    9
                62.     Don Hillebrand, former president of the Society for Automotive
   10
        Engineers, described how these factors interact: “You have power, you have
   11
        energy [efficiency], you have emissions: You get to choose two of them.” Jorn
   12
        Herner, an official with the California Air Resources Board’s research division
   13
        further explains that “[t]he temperatures and pressures under which a diesel
   14
        engine runs the most fuel efficient and the most peppy are also the conditions that
   15
        will convert the maximum amount of oxygen and nitrogen into NOx.”
   16
                63.     An emissions control system, such as BlueTEC, is designed to
   17
        function as a coordinated system or network of pollutant-reducing components in
   18
        a vehicle’s engine and exhaust system,5 the operation of which is regulated by a
   19
        small on-board computer typically called an Engine Control Unit (also known as
   20
        Electronic Diesel Controls or Engine Controllers). The Engine Control Unit is
   21
        part of an overall engine management system, which typically controls, among
   22
        other factors, the operation of the emissions control system.
   23
                64.     In the most recent models of diesel passenger vehicles, there are
   24
        several primary components of a diesel emissions control systems, including, but
   25
   26
            5
   27          40 C.F.R. § 86.1803-01 defines an emission control system as “a unique
        group of emission control devices, auxiliary emission control devices [“AECDs”],
   28   engine modifications and strategies, and other elements of design designated by
        the Administrator used to control exhaust emissions of a vehicle.”
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    1   not limited to: Exhaust Gas Recirculation systems; Diesel Oxidation Catalysts;
    2   Diesel Particulate Filters; and Selective Catalytic Reduction systems.
    3           65.      Two key components of Mercedes’ BlueTEC diesel emissions
    4   control systems are essential to reducing a diesel engine’s NOx emissions: (1)
    5   the Exhaust Gas Recirculation system and the (2) Selective Catalytic Reduction
    6   system. In Daimler vehicles, each of these systems is governed entirely by the
    7   Engine Control Unit, which is controlled by software engineered by Daimler
    8   employees to optimize overall vehicle performance.
    9           66.      Importantly, both systems are intended to change their operation
   10   depending on various internal and environmental conditions. Nevertheless, no
   11   matter the permutations created by the interaction of these variables, these
   12   systems should have been designed to ensure minimal NOx emissions under a
   13   wide range of normal operating conditions, not to shut off outside the formal
   14   testing environment (i.e., at 50                  and begin spewing diesel exhaust well in
   15   excess of regulatory thresholds.
   16           67.      Once Daimler determined the design of one of its vehicle’s engine
   17   hardware, the design of the emissions control system, and the required emissions
   18   sensor specifications, it developed the Engine Control Unit software that
   19   coordinated and managed the inter-operation of these components. This software
   20   was also designed to take into account various environmental and internal engine
   21   conditions       encountered         under      normal       operation,       specifically   including
   22   temperature.
   23           68.      Once Daimler developed this software, it then calibrated it to ensure
   24   that (i) the vehicle would pass regulatory emissions testing (by engaging the
   25   emissions control system), (ii) but also would disengage under a wide variety of
   26   environmental conditions encountered in normal use (including, among other
   27   variables, ambient temperature), to provide fuel efficiency and performance,
   28
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    1   while simultaneously failing to control emission of NOx and other harmful
    2   pollutants.
    3           69.      As discussed above, Daimler engineers during the Class Period
    4   calibrated diesel cars and light-duty vans so that the vehicles’ BlueTEC emissions
    5   control systems were only fully engaged at ambient temperatures above 50
    6   (since testing is always conducted at temperatures above 50 ), even though
    7   temperatures below 50             are common in on-road, normal use driving.
    8           70.      For example, in New York City, during an average year (derived
    9   from historical data), the daily mean air temperature falls below 50                on
   10   November 11, and does not rise above that mean daily air temperature until April
   11   6 of the following year. That is, for close to five months of an average year, a
   12   Daimler diesel car or van could be spewing many multiples of the threshold NOx
   13   emissions limits permitted by regulations. This is likewise applicable to many
   14   Northern European countries, where severe winter conditions are common and
   15   could cause excess emissions from Daimler cars and vans for the majority of the
   16   year. This is hardly an emissions control system designed to ensure regulatory
   17   compliance under conditions of on-road, normal use driving.
   18           71.      Thus, Daimler engineers ultimately controlled the process of
   19   calibration for Mercedes-Benz diesel cars and light-duty vehicles, in order for the
   20   vehicle to perform optimally within the testing constraints derived from
   21   applicable regulations. Passing emissions testing is one of Daimler engineers’
   22   primary concerns when calibrating a diesel car or light-duty van, because unlike
   23   other variables (such as power), certification of emissions compliance through
   24   highly regulated emissions tests is a necessary predicate to regulatory approval
   25   for sale.
   26
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   28
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    1                   5.      Daimler Diesel Cars Use a Defeat Device
    2           72.     U.S. and E.U. regulations permit deactivation of variable emissions
    3   control systems only under an extremely limited set of circumstances.6 Neither
    4   the U.S. nor the E.U. permit an emissions control system to perform materially
    5   better in a testing scenario than in the real world (corresponding to the operation
    6   of the vehicle outside of the testing laboratory).
    7           73.     Under U.S. regulations, an auxiliary emissions control device
    8   (“AECD”)7 is a device which activates or deactivates emissions control systems’
    9   components on the basis of measured ambient temperature and/or other
   10   parameters.          Daimler has acknowledged that the software governing the
   11   BlueTEC’s Engine Control Unit is an AECD, as it senses the ambient temperature
   12   and reduces the effectiveness of the emissions control system below, at, or around
   13   50 degrees Fahrenheit.
   14           74.     Moreover, an AECD “that reduces the effectiveness of the emission
   15   control system under conditions which may reasonably be expected to be
   16   encountered in normal vehicle operation and use” is a defeat device, unless
   17   covered by a limited exception. 40 C.F.R. § 86.1803-01 (emphasis added). One
   18   exception is that a vehicle may use an AECD to reduce the effectiveness of the
   19   emissions control system if “the need for the AECD is justified in terms of
   20   protecting the vehicle against damage . . . .” Id. (emphasis added).
   21           75.     However, the EPA has provided guidance that this vehicle damage
   22   exception is only to be used to the extent necessary or minimally.              The
   23   International Council on Clean Transportation has even specifically noted (albeit
   24
   25       6
               When emissions control systems are deactivated (or disengaged), engineers
   26   are essentially prioritizing fuel efficiency and power over emissions cleaning, as
        discussed in ¶ 62, supra.
            7
   27         40 C.F.R. § 86.1803-01 defines an AECD as “any element of design which
        senses temperature, vehicle speed, engine RPM, . . .or any other parameter for
   28   the purpose of activating, modulating, delaying, or deactivating the operation of
        any part of the emission control system.”
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    1   in the context of heavy-duty diesel emissions) that an “AECD based solely on
    2   ambient temperature might double vehicle emissions, and such an AECD would
    3   not be acceptable to EPA in any circumstances.”
    4           76.     In fact, the U.S. regulations governing the EPA’s investigation of a
    5   possible defeat device states that “[t]he manufacturer must show . . . that the
    6   vehicle design does not incorporate strategies that unnecessarily reduce emission
    7   control effectiveness exhibited during the [emissions test procedures] when the
    8   vehicle is operated under conditions which may reasonably be expected to be
    9   encountered in normal operation and use.” 40 CFR § 86.1809-01(d) (emphases
   10   added).
   11           77.     Similarly, E.U. regulations prohibit the use of devices that limit the
   12   effectiveness of the emissions control system except under very limited
   13   circumstances, for example when “the need for the device is justified in terms of
   14   protecting the engine against damage or accident and for safe operation of the
   15   vehicle.” But, under the E.U. regulations, any device that limits the effectiveness
   16   of the emissions control system is defined as a defeat device.8 In other words,
   17   whether a device is permissible under limited circumstances, it is nonetheless
   18   considered a defeat device.
   19           78.     The spirit of these regulations is clear; they require automakers to
   20   “equip vehicles so that the components likely to affect emissions are designed,
   21   constructed and assembled so as to enable the vehicle, in normal use, to comply”
   22   with applicable emissions thresholds. Regulation (EC) No. 715/2007 Art. 5, par.
   23   1 (emphasis added).
   24
   25       8
                Regulation (EC) No. 715/2007 Art. 3, par. 10 defines a defeat device as “any
   26   element of design which senses temperature, vehicle speed, engine speed (RPM),
        . . . or any other parameter for the purpose of activating, modulating, delaying or
   27   deactivating the operation of any part of the emission control system, that reduces
        the effectiveness of the emission control system under conditions which may
   28   reasonably be expected to be encountered in normal vehicle operation and use .
        . . .” (emphasis added)
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    1           D.       Diesel Emissions and Defeat Devices Were Thrust Into the
                         International Spotlight, and Allegations Against Daimler
    2                    Emerged
    3                    1.      Volkswagen Was Found to Use Defeat Devices
    4           79.      As discussed above, the conditions under which emissions testing is
    5   performed on new vehicles are highly regulated, and well known to automakers
    6   and automotive engineers. The EPA’s September 2015 findings showed how an
    7   automaker could use the knowledge of those test conditions to its advantage; they
    8   found that the specific defeat device used by VW was a piece of the car’s
    9   software code which used the position of the car’s steering wheel, vehicle speed,
   10   duration of operation, and barometric pressure (all of which are standardized in
   11   regulatory emissions testing) to detect testing, and activated the emissions
   12   controls only when these “testing” conditions were met.
   13           80.      The fallout from this announcement was monumental, with VW later
   14   announcing that it anticipated spending more than $7 billion to address the issues
   15   stemming from the EPA’s findings and notice of violation. As a result of this
   16   shocking news, and because the same report that spurred the EPA’s investigation
   17   into VW had also noted similar findings for Mercedes vehicles (among others),
   18   suspicions spread to other automakers, including Daimler.
   19           81.      Notwithstanding public reports of widespread suspicion that Daimler
   20   also was using defeat devices in its vehicles, the Company immediately denied
   21   any such allegations, and continued to deny these allegations throughout the
   22   remainder of the Class Period. Moreover, although the Company continued to
   23   reiterate that its vehicles complied with all applicable regulations, it mysteriously
   24   stopped describing its diesel cars as “clean diesel” or claimed in financial or other
   25   statements that they are the “cleanest diesel cars in the world” as it had done in
   26   every other previous Class Period annual financial report.
   27
   28
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    1                    2.      Despite Evidence that Daimler Knew that Certain
                                 BlueTEC Vehicles Were Impermissible, the Company
    2                            Adamantly Denied the Use of Defeat Devices
    3           82.      Subsequent reports demonstrated otherwise; namely, that Daimler
    4   (and Defendants) knew—several months before even the VW notice of violation
    5   had been issued by the EPA—that some of its products did not comply with
    6   regulations. Specifically, in June 2015, the Company had recalled around 11,000
    7   of its Sprinter vans (which used the same fundamental BlueTEC emissions
    8   control system discussed above) “to change the software of an emissions-related
    9   device,” and that in letters to the vans’ owners, Daimler said the recall was “to
   10   avoid possible trouble with authorities and test organizations.”
   11           83.      As officers of the Company, the Individual Defendants were charged
   12   with responsibility for allocating funds necessary to execute this recall and for
   13   approving all vehicle recalls, and therefore knew no later than June 2015 that at
   14   least some of its vehicles had emissions control systems that violated
   15   governmental emissions regulations (either because they cause impermissible
   16   levels of emitted pollutants, or because they were governed by impermissible
   17   defeat devices). The Company had a specific software fix for emissions control
   18   issues created, and they proactively sought to install that corrective software to be
   19   absolutely certain that they stayed off the radar of emissions regulation
   20   authorities.      Given that substantially similar emissions control systems were
   21   installed on its BlueTEC passenger diesel vehicles, this was a clear indication
   22   (ignored by Defendants) that the Company’s entire passenger and light-duty
   23   BlueTEC fleet were highly likely to be non-compliant with applicable
   24   regulations.
   25
   26
   27
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    1                    3.      Daimler Acknowledged that BlueTEC Activated Only at
                                 Temperatures Above Fifty Degrees Fahrenheit, but
    2                            Continued To Deny that Daimler Employed a Defeat
                                 Device
    3
                84.      On February 2, 2016, Forbes reported on an article in Der Spiegel in
    4
        which Daimler acknowledged that its BlueTEC systems deactivated at
    5
        temperatures below 50 . Daimler acknowledged this only after a Dutch testing
    6
        organization found that a Mercedes vehicle with BlueTEC had significantly
    7
        higher pollutant emissions when tested in cold temperatures.
    8
                85.      The Company responded that, in its opinion, deactivation of the
    9
        BlueTEC system was necessary to protect the engine from damage caused by
   10
        operating in excessively cold temperatures, and therefore was not a defeat device.
   11
        But this self-serving explanation ignored, of course, the most problematic element
   12
        of the Company’s excuse: Daimler’s simple software that shut off emissions
   13
        controls below 50            ensured that its diesel cars would always pass regulatory
   14
        emissions tests because those tests are always conducted at a temperature
   15
        well-above that threshold.
   16
                86.      In the Company’s 2015 Annual Report, dated February 16, 2016,
   17
        Defendants addressed head-on the rumors that Mercedes-Benz diesel passenger
   18
        and light vehicles produced excessive emissions:
   19
                         After reports surfaced o[f] manipulation by a competitor in the
   20                    fulfillment of emission regulations, doubts began to arise
                         concerning the emission and fuel consumption figures
   21                    reported by other automakers. Daimler repudiates any
                         allegations of manipulation. In particular, Daimler does not
   22                    and has never used any so-called “defeat device” that
                         illegally restricts the effectiveness of emission control
   23                    systems. This applies to all of our diesel and gasoline engines.
   24           87.      Even after the announcement of the EPA investigation noted above
   25   in ¶ 11, and the acknowledgement that emissions controls disengaged at ambient
   26   temperatures below 50 , the Company’s denials continued. On April 4, 2016,
   27   Defendant Zetsche spoke at Daimler’s Annual Shareholders’ Meeting, again
   28
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    1   refuting the mounting allegations against the Company, and explained that
    2   deviations can occur between regulatory test results and actual emissions in
    3   normal use. But his comments failed to truly respond to the accusations against
    4   the Company; Daimler’s particular calibration of its BlueTEC emissions control
    5   systems was not a mere difference of typical variation. Those accusations were
    6   based on reports that Mercedes passenger and light-duty diesel vehicles had been
    7   specifically programmed to completely deactivate their emissions control systems
    8   under on-road, normal use conditions, including below 50 .
    9           88.      On April 21, 2016, Daimler was hit by regulatory bombshells on
   10   both sides of the Atlantic. First, the DOJ asked the Company to instigate an
   11   internal investigation in order to review its exhaust emissions process. And
   12   second, KBA (the German Federal Motor Transport Authority) announced that at
   13   least two Mercedes diesel cars used defeat devices, and that it concluded that
   14   those defeat devices were not necessary to protect the vehicle.
   15           89.      The following day, several news outlets reported that Daimler would
   16   recall 247,000 diesel cars in Germany to “tweak” those vehicles’ emissions
   17   control software to address reported excess emissions. To put the scale of this
   18   recall in context, in all of 2015, Daimler sold a total of 798,852 cars in Europe
   19   (not just Germany). This was further evidence that the Company had improperly
   20   used defeat devices in its diesel cars and vans. In light the Company’s own
   21   disclosures that its emissions control systems were programmed to only be
   22   engaged in temperatures above 50                   (and given its June 2015 recall of several
   23   thousand diesel Sprinter vans), Daimler recalled the vehicles because (i) the
   24   Company’s diesel passenger vehicles caused impermissible levels of emitted
   25   pollutants, (ii) they were governed by defeat devices, or (iii) both.                    The
   26   Company’s justification that the emissions controls were disengaged to prevent
   27   engine damage no longer held.
   28
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    1           90.     The regulatory scrutiny stemming from these allegations continues to
    2   plague the Company. As of early August 2016, the EPA was still withholding
    3   approval for several of Mercedes’ 2017 models, although they had approved all of
    4   BMW’s 2017 turbodiesel models. Although the EPA would not elaborate on why
    5   it had still not approved certifications for the Mercedes diesel vehicles, it told
    6   reporters that “discussions continue.”
    7           91.     And in September 2016, Kelley Blue Book, a car-oriented website,
    8   stated that Daimler was still experiencing delays in regulatory approval and had
    9   “recently indicated that both the C300d Sedan, which was originally set to roll out
   10   this spring, as well as a new turbodiesel [model] . . . would likely not see
   11   showrooms until sometime in mid-2017,” and that such a turn of events would
   12   likely mean that both cars ended up being sold as 2018 model year vehicles.
   13           E.      Tests Confirm That Daimler’s BlueTEC Vehicles Emit Under
                        Normal Use Significantly Higher Emissions than Permitted
   14                   Pursuant to U.S. and European Regulations
   15           92.     In the wake of the announcement of the EPA’s notice of violation to
   16   VW, a number of governmental and non-governmental organizations began
   17   conducting their own independent investigation of vehicles purporting to use
   18   diesel emissions control systems in order to comply with emissions requirements.
   19   Nearly all of these organizations or government regulators specifically tested
   20   Daimler diesel passenger and light-duty vehicles dating back to model year 2010,
   21   and found that when tested on the open road (or under conditions other than those
   22   standardized test conditions known to all automakers), those Daimler vehicles
   23   emitted amounts of NOx well in excess of the levels permitted by applicable U.S.
   24   and E.U. regulations.9
   25           93.     When these organizations evaluated Daimler vehicles, those “clean
   26   diesel” vehicles generally performed well in tests under conditions similar to the
   27
            9
   28          These tests were performed by various organizations in the United States
        and throughout Europe.
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    1   regulatory emissions tests, but failed miserably when the test was modified to
    2   replicate normal on-road operating conditions to detect defeat devices. In fact,
    3   each test that measured Daimler vehicles’ NOx emissions on-road under normal
    4   use found that the Company’s supposedly “clean diesel” vehicles using the
    5   BlueTEC exhaust emissions reduction system were emitting NOx emissions
    6   many times higher than the levels permitted under applicable regulations.
    7           94.      For example, an April 2016 report by the German regulatory
    8   authority (which eventually led to the recall of 247,000 Daimler “clean diesel”
    9   cars and light-duty vehicles) found that the Mercedes C220 BlueTEC 2.1L; ;
   10   Sprinter 2.1L; and V250 BlueTEC 2.1L each exceeded emissions standards when
   11   tested outside of the tightly regulated NEDC test conditions.
   12           95.      Specifically, the Mercedes C220 BlueTEC 2.1L met the requisite
   13   NOx thresholds only when a NEDC test was performed when the car was being
   14   started while the engine was still cold (known as a “cold start test”), and emitted
   15   more than twice the maximum permissible NOx in on-road testing under normal
   16   use conditions.         Similarly, the same report found that the V250 BlueTEC’s
   17   emissions complied with the E.U. standard under NEDC controlled-test
   18   conditions, but emitted more than five times the allowable NOx when operated on
   19   the open road.
   20           96.      The disparity between Daimler’s “clean diesel” vehicles emissions
   21   on the road and their in-lab performance was also glaring in tests performed by
   22   organizations in the Netherlands, the United Kingdom, and France. A Dutch
   23   organization known as TNO, for example, released reports concluding that one
   24   model C 220 passed traditional emissions tests in controlled environments, but
   25   emitted more than eight times the Euro 6 limit when tested on the road under
   26   normal conditions. TNO likewise found that Mercedes E 220 CDI and 350
   27   models emitted NOx in excess of Euro 5 and Euro 6 maximums when tested
   28
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    1   under conditions other than the regulatory test performed for the purposes of
    2   seeking a type approval; these would also exceed the regulatory maximums
    3   established under Tier 2 for automakers seeking a Certificate of Conformity from
    4   the EPA.
    5           97.      Other reports from various non-governmental agencies, such as
    6   Transport & Environment (a non-governmental organization), came to the same
    7   conclusion.       Transport & Environment reported in September 2016 that five
    8   Mercedes models were on its list of the most polluting Euro 6 vehicles. This
    9   finding was based on data collected from the EQUA Air Quality Index results of
   10   test scores from on-road emissions tests. These models included the A 180d, A
   11   200 d, C 220d, S 350 BlueTEC and V 250.
   12           98.      The Mercedes E 250 CDI also was listed on the list for most
   13   polluting Euro 5 vehicles. The report attributed the disparate results to a number
   14   of different cheating techniques which, although not specifically identified
   15   therein, account for the differing results between controlled laboratory regulatory
   16   testing and on-road normal use testing.
   17           99.      Indeed, by the time this Transport & Environment report was issued,
   18   the Company had already acknowledged that its emissions control systems
   19   incorporated a defeat device, as that term is defined pursuant to E.U. regulations,
   20   which only permitted its passenger diesel and light-duty vehicles’ emissions
   21   control systems to fully engage when the ambient temperature moved above 50 .
   22   Although the Company did not disclose any other conditions under which its
   23   diesel emissions control systems were restricted, it is apparent from the reports
   24   referenced above, and other discussing similar findings, that Daimler manipulated
   25   its diesel emissions control systems to meet regulatory testing thresholds,
   26   particularly for NOx emissions, and that elements other than just temperature are
   27   likely at play in the applicable defeat devices.
   28
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    1   V.      DEFENDANTS’ MATERIALLY FALSE AND MISLEADING
                STATEMENTS AND OMISSIONS OF MATERIAL FACT
    2
                A.       Pre-September 2015 Misleading Statements and Omissions
    3
                         1.      2011 Annual Report Misleading Statements and Omissions
    4
                100. The Class Period begins on February 22, 2012, when the Company
    5
        released its financial results for fiscal year 2011 (the “2011 Annual Report”),
    6
        which was signed by each of the Individual Defendants.
    7
                101. With respect to the Company’s diesel, the 2011 Annual Report
    8
        stated: “We are global leaders for diesel engines with our BLUETEC technology.
    9
        Our BLUETEC automobiles fulfill the strictest emission standards and are the
   10
        cleanest diesel cars in the world.”                   Defendants also stated therein that the
   11
        Company “continue[d] to develop our vehicles with state-of-the-art internal-
   12
        combustion engines and are optimizing them to achieve significantly lower . . .
   13
        emissions.”
   14
                102. The statement set forth in ¶ 101 above was materially false and
   15
        misleading when made. Far from being the “cleanest diesel cars in the world,”
   16
        Defendants knew or were deliberately reckless in not knowing that the
   17
        Company’s diesel cars and light-duty vehicles emitted significantly higher
   18
        quantities of pollutants (including but not limited to NOx) under normal operation
   19
        than Defendants disclosed in their publicly announced emissions testing results,
   20
        and that these excessive emissions were caused by BlueTEC’s emissions control
   21
        system’s software that intentionally shut-down that emissions control system
   22
        under certain conditions unnecessary to protect the engine from damage,
   23
        including but not limited to when the ambient temperature dropped below 50 .
   24
                103. Further, the statement set forth in ¶ 101 above misleadingly omitted
   25
        to state material information when made. Specifically, in connection with the
   26
        statements alleged to have been false and misleading above, Defendants omitted
   27
        to state that the ability of its passenger and light-duty diesel vehicles to “fulfill the
   28
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    1   strictest emission standards” was critically dependent on the BlueTEC emissions
    2   control system’s engagement in test conditions at temperatures higher than 50
    3   (approximately 50           ), and that such systems were intentionally designed to shut
    4   down under certain conditions unnecessary to protect the engine from damage.
    5   Likewise, Defendants omitted to state that, to the extent the Company had
    6   previously developed, and continued to develop, “and further optimize [their]
    7   vehicles with state-of-the-art internal-combustion engines” that were optimized
    8   “to achieve significantly lower . . . emissions,” that development was limited to
    9   the optimization of such engines to meet specific emissions testing requirements,
   10   rather than to actually cause the Company’s clean diesel passenger vehicles to
   11   significantly reduce emissions under normal use.
   12                    2.      2012 Annual Report Misleading Statements and Omissions
   13           104. On February 21, 2013, the Company released its financial results for
   14   fiscal year 2012 (the “2012 Annual Report”), which was signed by each of the
   15   Individual Defendants.
   16           105. With respect to the Company’s diesel offerings, the 2012 Annual
   17   Report stated: “We are global leaders for diesel engines with our BLUETEC
   18   technology. Our BLUETEC automobiles fulfill the strictest emission standards
   19   and are the cleanest diesel cars in the world.” Defendants also stated therein
   20   that the Company “continue[d] to develop and further optimize our vehicles with
   21   state-of-the-art combustion engines in order to achieve significantly lower . . .
   22   emissions.”
   23           106. The statement set forth in ¶ 105 above was materially false and
   24   misleading when made. Far from being the “cleanest diesel cars in the world,”
   25   Defendants knew or were deliberately reckless in not knowing that the
   26   Company’s diesel cars and light-duty vehicles emitted significantly higher
   27   quantities of pollutants (including but not limited to NOx) under normal operation
   28
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    1   than Defendants disclosed in their publicly announced emissions testing results,
    2   and that these excessive emissions were caused by BlueTEC’s emission control
    3   system’s software that intentionally shut down that emissions control system
    4   under certain conditions unnecessary to protect the engine from damage,
    5   including but not limited to when the ambient temperature dropped below 50 .
    6           107. Further, the statement set forth in ¶ 105 above misleadingly omitted
    7   to state material information when made. Specifically, in connection with the
    8   statements alleged to have been false and misleading above, Defendants omitted
    9   to state that the ability of its passenger and light-duty diesel vehicles to “fulfill the
   10   strictest emission standards” was critically dependent on the BlueTEC emissions
   11   control system’s engagement in test conditions at temperatures higher than 50
   12   (approximately 50           ), and that such systems were intentionally designed to shut
   13   down under certain conditions unnecessary to protect the engine from damage.
   14   Likewise, Defendants omitted to state that, to the extent the Company had
   15   previously developed, and continued to develop, “state-of-the-art combustion
   16   engines” that were optimized “to achieve significantly lower . . . emissions,” that
   17   development was limited to the optimization of such engines to meet specific
   18   emissions testing requirements, rather than to actually cause the Company’s clean
   19   diesel passenger vehicles to significantly reduce emissions under normal use.
   20                    3.      September 11, 2013 Misleading Statements and Omissions
   21           108. On September 11, 2013, MBUSA announced in a press release titled
   22   “2014 E250 BlueTEC Sedan Gets 45 MPG EPA Highway Rating,” the
   23   introduction of its 2014 model year E250 BlueTEC model. In this press release,
   24   MBUSA stated: “To ensure the E250 BlueTEC meets exhaust emission
   25   regulations in all 50 U.S. states, the BlueTEC system uses AdBlue injection to
   26   make the diesel as clean as a state-of-the-art gasoline engine.”
   27
   28
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    1           109. The statement set forth in ¶ 108 above, was materially false and
    2   misleading when made. Rather than “meet[ing] exhaust emission regulations in
    3   all 50 U.S. states,” based on a system “mak[ing] the diesel [E250 BlueTEC] as
    4   clean as a state-of-the-art gasoline engine,” Defendants knew or were deliberately
    5   reckless in not knowing that the E250 BlueTEC (as well as other 2014 model year
    6   BlueTEC vehicles using substantially the same “clean diesel” technology) was
    7   not “as clean as state-of-the-art gasoline engines,” and that, given the BlueTEC’s
    8   emissions control system’s software that intentionally shut down that emissions
    9   control system under certain conditions unnecessary to protect the engine from
   10   damage, including but not limited to when the ambient temperature dropped
   11   below 50 , the E250 BlueTEC’s emissions did not meet exhaust regulations in
   12   all 50 U.S. states.
   13           110. Further, the statement set forth in ¶ 108 above misleadingly omitted
   14   to state material information when made. Specifically, in connection with the
   15   statements alleged to have been false and misleading, Defendants misleadingly
   16   omitted to state that the BlueTEC clean diesel system was designed by Daimler
   17   engineers to disengage under certain conditions, including but not limited to when
   18   the ambient temperature dropped below 50 , rendering the vehicles’ diesel
   19   emissions controls ineffective and causing such vehicles under normal operating
   20   conditions to emit several times the emissions per vehicle than permitted under
   21   applicable EPA, Euro 5, and/or Euro 6 regulatory requirements.
   22                    4.      2013 Annual Report Misleading Statements and Omissions
   23           111. On February 18, 2014, the Company released its 2013 Annual
   24   Report,” which was signed by the Individual Defendants.
   25           112. With respect to the Company’s diesel offerings, the 2013 Annual
   26   Report stated: “Thanks to BLUETEC technology, we are a world leader for
   27   diesel vehicles. Automobiles equipped with this technology conform to the
   28
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    1   strictest emissions standards and are the cleanest diesel cars in the world.”
    2   Defendants also stated therein that the Company “continue[d] to enhance our
    3   vehicles with state-of-the-art internal-combustion engines that we are optimizing
    4   to achieve significantly lower . . . emissions.”
    5           113. The statement set forth in ¶ 112 above was materially false and
    6   misleading when made. Far from being the “cleanest diesel cars in the world,”
    7   Defendants knew or were deliberately reckless in not knowing that the
    8   Company’s diesel cars and light-duty vehicles emitted significantly higher
    9   quantities of pollutants (including but not limited to NOx) under normal operation
   10   than Defendants disclosed in their publicly announced emissions testing results,
   11   and that these excessive emissions were caused by BlueTEC’s emissions control
   12   system’s software that intentionally shut down that emissions control system
   13   under certain conditions unnecessary to protect the engine from damage,
   14   including but not limited to when the ambient temperature dropped below 50 .
   15           114. Further the statement set forth in ¶ 112 above misleadingly omitted
   16   to state material information when made. Specifically, in connection with the
   17   statements alleged to have been false and misleading above, Defendants omitted
   18   to state that the ability of its passenger and light-duty diesel vehicles to “conform
   19   to the strictest emissions standards” was critically dependent on the BlueTEC
   20   emissions control system’s engagement in test conditions at temperatures higher
   21   than 50 , and that such systems were designed to intentionally designed to shut
   22   down under certain conditions unnecessary to protect the engine from damage.
   23   Likewise, Defendants omitted to state that, to the extent the Company had
   24   previously developed, and continued to develop, “state-of-the-art internal-
   25   combustion engines” that were optimized “to achieve significantly lower . . .
   26   emissions,” that development was limited to the optimization of such engines to
   27   meet specific emissions testing requirements, rather than to actually cause the
   28
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    1   Company’s clean diesel passenger vehicles to significantly reduce emissions
    2   under normal use.
    3                    5.      2014 Annual Report Misleading Statements and Omissions
    4           115. On February 13, 2015, the Company released its financial results for
    5   fiscal year 2014 (the “2014 Annual Report”), which was signed by the Individual
    6   Defendants.
    7           116. With respect to the Company’s diesel offerings, the 2014 Annual
    8   Report stated: “Thanks to BLUETEC technology, we are a world leader for diesel
    9   vehicles. Automobiles equipped with this technology conform to the strictest
   10   emissions standards and are the cleanest diesel cars in the world.” Defendants
   11   also stated therein that the Company “continue[d] to enhance our vehicles with
   12   state-of-the-art internal combustion engines that we are optimizing to achieve
   13   significantly lower . . . emissions.”
   14           117. The statement set forth in ¶ 116 above was materially false and
   15   misleading when made. Far from being the “cleanest diesel cars in the world,”
   16   Defendants knew or were deliberately reckless in not knowing that the
   17   Company’s diesel cars and light-duty vehicles emitted significantly higher
   18   quantities of pollutants (including but not limited to NOx) under normal operation
   19   than Defendants disclosed in their publicly announced emissions testing results,
   20   and that these excessive emissions were caused by BlueTEC’s emissions control
   21   system’s software that intentionally shut-down that emissions control system
   22   under certain conditions unnecessary to protect the engine from damage,
   23   including but not limited to when the ambient temperature dropped below 50 .
   24           118. Further the statement set forth in ¶ 116 above misleadingly omitted
   25   to state material information when made. Specifically, in connection with the
   26   statements alleged to have been false and misleading above, Defendants omitted
   27   to state that the ability of its passenger and light-duty diesel vehicles to “conform
   28
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    1   to the strictest emissions standards” was critically dependent on the BlueTEC
    2   emissions control system’s engagement in test conditions at temperatures higher
    3   than approximately 50 , and that such systems were intentionally designed to
    4   shut down under certain conditions unnecessary to protect the engine from
    5   damage. Likewise, Defendants omitted to state that, to the extent the Company
    6   had previously developed, and continued to develop, “state-of-the-art combustion
    7   engines” that were optimized “to achieve significantly lower . . . emissions,” that
    8   development was limited to the optimization of such engines to meet specific
    9   emissions testing requirements, rather than to actually cause the Company’s
   10   “clean diesel” passenger vehicles to significantly reduce emissions under normal
   11   use.
   12           B.       Post-Defeat Device Allegations Misleading Statements and
                         Omissions
   13
                         1.      September 2015 Misleading Statements and Omissions
   14
                119. As set forth above, in September 2015, news was widespread
   15
        concerning the revelation that VW had used an illegitimate defeat device to
   16
        comply with applicable emissions requirements in the U.S. and the E.U. In
   17
        response to the VW news, as well as rumors from multiple sources that Daimler
   18
        also employed similar technology to skirt emissions regulations in on-road
   19
        normal use driving conditions, Daimler began issuing a series of emphatic
   20
        denials, claiming that the issues plaguing VW were not present in Mercedes-Benz
   21
        vehicles.
   22
                120. Specifically, in a Company statement to Reuters on September 21,
   23
        2015, Daimler said that it had heard about the VW accusations and stated that the
   24
        “issue described by the press does not apply to Mercedes-Benz Cars.”
   25
                121. Just a few days later, Daimler continued to deny the existence of any
   26
        problems with its emissions control systems. In a September 25, 2015 press
   27
        release, the Company stated emphatically: “We categorically deny the accusation
   28
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    1   of manipulating emission tests regarding our vehicles. A defeat device, a function
    2   which illegitimately reduces emissions during testing, has never been and will
    3   never be used at Daimler. This holds true for both diesel and petrol engines.”
    4           122. The statements set forth in ¶¶ 120-121 above were materially false
    5   and misleading and omitted to state material information when made.                 As
    6   Defendants knew at the time, and as would be subsequently disclosed, Daimler
    7   did actually use a defeat device (as that term is defined under applicable
    8   regulations) in its diesel passenger and light-duty vehicles, including but not
    9   limited to the Affected Models, and the Company intentionally calibrated its
   10   emissions control system for such vehicles to shut down under certain conditions,
   11   including whenever the ambient temperature was below 50 , a threshold
   12   unnecessary to protect the vehicle against damage under normal use. While such
   13   calibration may not have been explicitly intended to identify when Daimler
   14   vehicles were being subject to emissions testing (the specific manipulation
   15   alleged with respect to VW), the intentional calibration of Daimler diesel
   16   emissions control systems to shut down at ambient temperatures below 50
   17   meant that the emissions control systems were designed so that they would be
   18   operational under testing conditions, but would be rendered non-operational (by
   19   software design) for significant periods of time under on-road normal vehicle use.
   20           123. Further the statements set forth in ¶¶ 120-121 above, were materially
   21   false and misleading when made because Defendants knew that the Company’s
   22   diesel cars and light-duty vehicles emitted significantly higher quantities of
   23   pollutants (including but not limited to NOx) under normal operation than
   24   Defendants disclosed in their publicly announced emissions testing results, and
   25   that these excessive emissions were caused by BlueTEC’s emissions control
   26   system’s software that intentionally shut down that emissions control system
   27
   28
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    1   under certain conditions unnecessary to protect the engine from damage,
    2   including but not limited to when the ambient temperature dropped below 50 .
    3                    2.      Q3 2015 Earnings Call Misleading Statements and
                                 Omissions
    4
                124. On October 22, 2015, Daimler held a conference call (the “3Q 2015
    5
        Call”) to discuss the Company’s financial results for the third quarter of its 2015
    6
        fiscal year.
    7
                125. During the 3Q 2015 Call, Bodo Uebber, Daimler CFO,
    8
        spontaneously issued another denial on the Company’s behalf, stating: “In light of
    9
        the recent news, I would like to say a few words about our diesel technology.
   10
        Daimler does not use and never has used defeat devices, which illegally limit the
   11
        effectiveness of the emission control system. This applies to all of our diesel . . .
   12
        engines worldwide.”
   13
                126. The statement set forth in ¶ 125 above was materially false and
   14
        misleading and omitted to state material information when made. As Defendants
   15
        knew at the time, and as would be subsequently disclosed, Daimler did actually
   16
        use a defeat device (as that term is defined under applicable regulations) in its
   17
        diesel passenger and light-duty vehicles, including but not limited to the Affected
   18
        Models, and the Company intentionally calibrated its emissions control systems
   19
        for such vehicles to shut down under certain conditions unnecessary to protect the
   20
        vehicle against damage under normal use, including whenever the ambient
   21
        temperature was below 50 .                    While such calibration may not have been
   22
        explicitly intended to identify when Daimler vehicles were being subject to
   23
        emissions testing (the specific manipulation alleged with respect to VW), the
   24
        intentional calibration of Daimler diesel emissions control systems to shut down
   25
        at ambient temperatures below 50                    meant that the emissions control systems
   26
        were designed so that they would be operational under testing conditions, but
   27
   28
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    1   would be rendered non-operational (by software design) for significant periods of
    2   time under on-road normal vehicle use.
    3                    3.      January 2016 Press Release Misleading Statements and
                                 Omissions
    4
                127. On January 29, 2016, the Company issued a press release, again
    5
        denying the continued rumors that, as a result of manipulation and/or a defeat
    6
        device, Mercedes-Benz cars and light-duty vehicles (including the Affected
    7
        Models) emitted more NOx than permitted under applicable government
    8
        regulations:
    9
                         We absolutely reject speculation or interpretation that
   10                    possible deviations between test-bench measurements and
                         measurements made during real driving conditions can only
   11                    be explained by manipulation. No defeat device, i.e. a
                         function that improperly restricts the effectiveness of
   12                    exhaust-gas aftertreatment, is used by Mercedes-Benz.
   13           128. This statement (and the press release generally) had been reviewed
   14   and approved by employees and officers within Daimler capable of binding the
   15   Company, and who, either knew, or were deliberately reckless in not knowing
   16   that the statement was false and misleading.
   17           129. The statement set forth in ¶ 127 above was materially false and
   18   misleading, and omitted to state material information when made. As Defendants
   19   knew at the time, and would be subsequently disclosed, Daimler did actually use
   20   a defeat device (as that term is defined under applicable regulations) in its diesel
   21   passenger and light-duty vehicles, including but not limited to the Affected
   22   Models, and the Company intentionally calibrated its emissions control systems
   23   for such vehicles to shut-down under certain conditions unnecessary to protect the
   24   vehicle from damage under normal use, including whenever the ambient
   25   temperature was below 50 .                    While such calibration may not have been
   26   explicitly intended to identify when Daimler vehicles were being subject to
   27   emissions testing (the specific manipulation alleged with respect to VW), the
   28
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    1   intentional calibration of Daimler diesel emissions control systems to shut down
    2   at ambient temperatures below 50                    meant that the emissions control systems
    3   were designed so that they would be operational under testing conditions, but
    4   would be rendered non-operational (by software design) for significant periods of
    5   time under on-road normal vehicle use.
    6                    4.      February 2016 Misleading Statement and Omission
    7           130. On February 2, 2016, Forbes published an article entitled
    8   “Dieselgate Reaches Daimler: A Defeat Device By Another Name” reporting
    9   details of the accusations against the Company. In the article, the Company states
   10   that “A defeat device, i.e. a function that limits the efficacy of the emissions
   11   treatment in an inadmissible way, is not being used by Mercedes-Benz.
   12   Furthermore, Mercedes-Benz vehicles do not have a function that
   13   automatically registers that the vehicle is in a testing bay.”
   14           131. This statement (and the press release generally) had been reviewed
   15   and approved by employees and officers within Daimler capable of binding the
   16   Company, and who, either knew, or were deliberate reckless in not knowing that
   17   the statement was false and misleading.
   18           132. The statement set forth in ¶ 130 above was materially false and
   19   misleading, and omitted to state material information when made. As Defendants
   20   knew at the time, and would be subsequently disclosed, Daimler did actually use
   21   a defeat device (as that term is defined under applicable regulations) in its diesel
   22   passenger and light-duty vehicles, including but not limited to the Affected
   23   Models, and the Company intentionally calibrated its emissions control systems
   24   for such vehicles to shut down under certain conditions unnecessary to protect the
   25   vehicle from damage under normal use, including whenever the ambient
   26   temperature was below 50 .                    While such calibration may not have been
   27   explicitly intended to identify when Daimler vehicles were being subject to
   28
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    1   emissions testing (the specific manipulation alleged with respect to VW), the
    2   intentional calibration of Daimler diesel emissions control systems to shut down
    3   at ambient temperatures below 50                    meant that the emissions control systems
    4   were designed so that they would be operational under testing conditions, but
    5   would be rendered non-operational (by software design) for significant periods of
    6   time under on-road normal vehicle use.
    7                    5.      2016 Annual Shareholder Meeting Misleading Statements
                                 and Omissions
    8
                133. On April 6, 2016, Daimler held its Annual Shareholders’ Meeting to
    9
        discuss the Company’s financial results and overall performance.
   10
                134. During the meeting, Defendant Zetsche refuted the mounting
   11
        allegations against the Company: “The technology that has generated the most
   12
        headlines in recent months is that of diesel drive systems. Daimler did not cause
   13
        these headlines. Nonetheless, a side effect of this development is that allegations
   14
        were also made against our products. We categorically reject those allegations.”
   15
                135. The statement set forth in ¶ 134 above was materially false and
   16
        misleading and omitted to state material information when made. As Defendants
   17
        knew at the time, and would be subsequently disclosed, Daimler did actually use
   18
        a defeat device (as that term is defined under applicable regulations) in its diesel
   19
        passenger and light-duty vehicles, including but not limited to the Affected
   20
        Models, and the Company intentionally calibrated its emissions control systems
   21
        for such vehicles to shut down under certain conditions unnecessary to protect the
   22
        vehicle from damage under normal use, including whenever the ambient
   23
        temperature was below 50 .
   24
                         6.      2015 Annual Report Misleading Statements and Omissions
   25
                136. On February 16, 2016, the Company released its financial results for
   26
        fiscal year 2015 (the “2015 Annual Report”), which was signed by the Individual
   27
        Defendants.
   28
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    1            137. With respect to the Company’s diesel passenger and light-duty
    2   vehicle offerings, the 2015 Annual Report stated: “We continue to enhance our
    3   vehicles with state-of-the-art internal combustion engines that we are optimizing
    4   to achieve significantly lower . . . emissions.” Defendants also stated therein that
    5   “the cars with [BlueTEC] already comply with the strictest emission standards.”
    6            138. The statement set forth in ¶ 137 above misleadingly omitted to state
    7   material information when made. Specifically, in connection with the statements
    8   alleged to have been false and misleading above, Defendants omitted to state that
    9   the ability of its passenger and light-duty vehicles to “comply with the strictest
   10   emission standards”10 was critically dependent on the BlueTEC emissions control
   11   system’s engagement in test conditions at temperatures higher than 50 , and that
   12   such systems were intentionally designed to shut-down under certain conditions
   13   unnecessary to protect the engine from damage. Likewise, Defendants omitted to
   14   state that, to the extent the Company had previously developed, and continued to
   15   develop “state-of-the-art internal combustion engines” that were optimized “to
   16   achieve significantly lower . . . emissions,” that development was limited to the
   17   optimization of such engines to meet specific emissions testing requirements,
   18   rather than to actually cause the Company’s “clean diesel” vehicles to
   19   significantly reduce emissions under normal use.
   20            139. The Company also stated in the 2015 Annual Report:
   21                   After reports surfaced o[f] manipulation by a competitor in the
                        fulfillment of emission regulations, doubts began to arise
   22                   concerning the emission and fuel consumption figures
                        reported by other automakers. Daimler repudiates any
   23                   allegations of manipulation. In particular, Daimler does not
                        use and has never used any so-called “defeat device” that
   24                   illegally restricts the effectiveness of emission control
                        systems. This applies to all of our diesel and gasoline engines.
   25
   26       10
                Notably, whereas previous Company annual reports stated that BlueTEC
   27   automobiles conformed with the strictest emissions standards and were “the
        cleanest diesel cars in the world,” after the VW scandal and rumors surrounding
   28   Mercedes, the Company no longer claimed in its 2015 Annual Report that it made
        “the cleanest diesel cars in the world.
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    1              140. The statement set forth in ¶ 139 above was materially false and
    2   misleading and omitted to state material information when made. As Defendants
    3   knew at the time, and would be subsequently disclosed, Daimler did actually use
    4   a defeat device (as that term is defined under applicable regulations) in its diesel
    5   passenger and light-duty vehicles, including but not limited to the Affected
    6   Models, and the Company intentionally calibrated its emissions control systems
    7   for such vehicles to shut down under certain conditions unnecessary to protect the
    8   vehicle from damage under normal use, including whenever the ambient
    9   temperature was below 50 .
   10   VI.        THE TRUTH EMERGES
   11              141. The truth and foreseeable risks concealed by Defendants’
   12   misconduct, misleading statements, and omissions during the Class Period were
   13   partially revealed and/or partially materialized after the markets closed on
   14   September 21, 2015, when Transport & Environment11 published an article
   15   entitled “VW’s cheating is just the tip of the iceberg.” The article used emissions
   16   data from testing authorities throughout Europe to observe that diesel vehicles,
   17   including Mercedes-Benz vehicles, were polluting at significantly higher levels
   18   than previously believed. Diesel vehicles were emitting noxious pollutants during
   19   normal use and operation at levels that were many multiples of the relevant
   20   emissions standards.
   21              142. Most saliently, the article found that “[f]or new diesel cars nitrogen
   22   oxide [NOx] emissions are typically five times higher on the road than the
   23   allowed limit and just one in 10 cars meets the required level on the road . . . .”
   24   Additionally, the article revealed that “[i]n CO2 tests, on average almost every
   25
   26         11
                The European Federation for Transport and Environment (“Transport &
   27   Environment”) is a non-governmental organization comprised of 42 member
        organizations across 27 countries. Transport & Environment is recognized as a
   28   non-governmental organization in Special Consultative Status with the Economic
        and Social Council of the United Nations.
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    1   Mercedes model achieves levels on the road over 50% higher than the laboratory
    2   tests.”
    3             143. The Transport & Environment article revealed that, despite
    4   Daimler’s vehement protestations to the contrary and Defendant Uebber’s claim
    5   that “Daimler does not use and has never used defeat devices,” Mercedes’
    6   BlueTEC diesel vehicles emit significantly higher levels of pollutants during
    7   normal use and operation compared to conditions that mimic the highly-regulated
    8   test conditions.        See ¶¶ 6-10, 89, 92-99, supra.                   Transport & Environment
    9   concluded that the results observed were highly indicative that manufacturers,
   10   including Defendants, were using defeat devices.
   11             144. In response to this partial disclosure, on September 22, 2015 the
   12   prices of the Daimler ADRs fell approximately 7% on heavy trading volume.
   13   Shares of DDAIF fell $5.38 per share to close at $74.30; and DDAIY fell $5.44
   14   per share to close at $74.01.
   15             145. While this partial disclosure of adverse news removed some of the
   16   artificial inflation in the Daimler ADRs, the prices of the ADRs remained
   17   artificially inflated due to Defendants’ vehement protestations that Mercedes
   18   diesel passenger vehicles and light-duty vehicles did not utilize a defeat device,
   19   and their continued false statements relating to the allegations.
   20             146. The relevant truth and/or foreseeable risks concealed by Defendants’
   21   misconduct was further disclosed and/or materialized during the day, and after the
   22   close of trading on April 21, 2016.
   23             147. On April 21, 2016, after the market closed, the Company disclosed
   24   that the U.S. Department of Justice (the “DOJ”) had requested that Daimler
   25   conduct an internal investigation to “review its certification and admissions
   26   process related to exhaust emissions in the United States.” With little option,
   27   Daimler initiated an internal investigation.
   28
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    1           148. Numerous analysts highlighted Daimler’s disclosure of the DOJ
    2   mandated internal investigation into its emissions certification and regulatory
    3   compliance process. For example, Morningstar noted that the Company’s “stock
    4   opened lower on April 22 because of a separate announcement that the U.S.
    5   [DOJ] requested an internal investigation into the company’s exhaust emissions
    6   certification process. Last year, the company announced to the market that there
    7   are no so-called defeat devices in its vehicles.”
    8           149. Other analysts reacted similarly, concluding that the drop in the
    9   prices of Daimler securities (including the ADRs) were directly attributable to the
   10   announcement of the internal investigation: Natixis’ report on the Company’s Q1
   11   2016 earnings conference call stated that, “[t]he market nevertheless punished the
   12   stock severely (-6.6%), reflecting investors’ concerns about the [DOJ]’s
   13   investigation into the group’s emissions in the USA”; Morgan Stanley concluded
   14   that “[t]he internal review of US emissions procedures, at the DOJ’s request,
   15   overshadows Q116 performance”; and Barclays’ opined that the governmental
   16   investigation was “likely to be a stock overhang until further visibility is
   17   provided.”
   18           150. In addition to the disclosure that Daimler would have to conduct an
   19   internal investigation at the DOJ’s request, the KBA, the German Federal Motor
   20   Transport Authority, released a report on April 21, 2016 specifically identifying
   21   at least two Mercedes diesel passenger vehicles that it believed improperly
   22   “adjust the efficiency of their emission control system to driving conditions and
   23   environmental conditions. This corresponds to a defeat device according to the
   24   definition set forth in Article 3 of the Regulation (EC) No. 715/2007.”
   25           151. For example, the KBA found that the Mercedes V250 BlueTEC
   26   2.1L, emissions performance during “[t]he [New European Driving Cycle] 10°C
   27   test yields 2.6 times the NOx threshold value.                             The [portable emissions
   28
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    1   measurement system] on-the-road measurements produce 5-6 times the NOx
    2   threshold value for the [New European Driving Cycle] test cycles. . . The NOx
    3   value of the [Real Driving Emissions] test exceeds the threshold value fourfold.”
    4           152. In the discussion of the Mercedes V 250 BlueTEC 2.1L the KBA
    5   noted that based on its conversations with Daimler about Mercedes’ emissions:
    6                    [t]he manufacturer agrees to introduce an extended
                         temperature range into the current production in the summer
    7                    of 2016 by way of a set of measures. This [implementation of
                         an extended temperature range for the emissions control
    8                    system] will also be available to all the vehicles in the field as
                         part of a service campaign. If the manufacturer assumes these
    9                    measures as planned and if the KBA verifies their
                         effectiveness, then doubts as to the lawfulness of the defeat
   10                    device for reasons of engine protection would cease to exist.
   11           153. In sum, the KBA had “doubts as to the lawfulness of the
   12   [temperature range-based] defeat device” employed by Mercedes; these findings
   13   led to a recall of 247,000 vehicles in the field, so that the Company could
   14   implement an “extended temperature range.” Reuters and other news outlets
   15   published articles before the market opened on April 22, 2016, highlighting the
   16   fact that several German automakers, including Mercedes, were recalling vehicles
   17   to “fix emissions” by “tweak[ing] diesel engine software [] blamed for causing
   18   high pollution.” Financial Times cited a Company spokesperson who said that
   19   Daimler would be recalling 247,000 vehicles.
   20           154. Much like the announcement of the DOJ-requested internal
   21   investigation, market analysts noted the effect of the KBA report and the recall on
   22   the price of Daimler securities. Societe Generale noted the confluence of these
   23   negative events for the Company, stating that “[e]xpectations for Q1 were
   24   sufficiently modest, and so the actual results and outlook might well have been
   25   better received, but for the twin shadows cast by Daimler’s admission on the eve
   26   of the release that the US [DOJ] had asked it to review its exhaust emissions
   27   certification processes and the news the next day that a number of automakers
   28
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    1   including Mercedes had agreed to recall 630,000 vehicles in Germany,” including
    2   247,000 by Daimler alone.
    3           155. After the markets closed on April 21, 2016, these disclosures of the
    4   truth and/or materialization of foreseeable risks which were concealed by
    5   Defendants’ false and misleading statements and omissions caused the prices of
    6   the Daimler ADRs to fall approximately 5% on April 21 and 22, 2016. Shares of
    7   DDAIF fell $3.79 per share over those two trading days to close at $70.85 per
    8   share on April 22, 2016; shares of DDAIY fell $3.94 per share over those two
    9   trading days to close at $70.76 per share on April 22, 2016, thereby fully
   10   removing the artificial inflation in the Daimler ADRs.
   11   VII. THE STATUTORY SAFE HARBOR AND BESPEAKS
             CAUTION DOCTRINE ARE INAPPLICABLE
   12
                156. The statutory safe harbor and the bespeaks caution doctrine
   13
        applicable to forward-looking statements under the Private Securities Litigation
   14
        Reform Act of 1995 do not apply to the misrepresentations and omissions alleged
   15
        in this Complaint.
   16
                157. None of Defendants’ historic or present-tense statements alleged
   17
        herein was a forward-looking statement because none was an assumption
   18
        underlying or relating to any plan, projection, or statement of future economic
   19
        performance, as they were not stated to be such assumptions underlying or
   20
        relating to any projection or statement of future economic performance when
   21
        made, nor were any of the projections or forecasts made by Defendants expressly
   22
        related to, or stated to be dependent on, those historic or present-tense statements
   23
        when made.
   24
                158. To the extent that any of the materially false or misleading
   25
        statements alleged herein, or any portions thereof, can be construed as forward-
   26
        looking, these statements were not accompanied by meaningful cautionary
   27
        language identifying important facts that could cause actual results to differ
   28
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    1   materially from those in the statements. As set forth above in detail, given the
    2   then-existing facts contradicting Defendants’ statements, the generalized risk
    3   disclosures made by Defendants were not sufficient to insulate Defendants from
    4   liability for their materially false and misleading statements.
    5           159. Defendants are also liable for any false or misleading forward-
    6   looking statement alleged herein, or portion thereof, because at the time each
    7   forward-looking statement was made, the speaker knew the forward-looking
    8   statement was false or misleading, or the forward-looking statement was
    9   authorized and approved by an executive officer of Daimler who knew that the
   10   forward-looking statement was false.
   11   VIII. LOSS CAUSATION
   12           160. As a result of Defendants’ materially false and misleading
   13   statements, omissions of material facts, and fraudulent course of conduct, as
   14   alleged above in ¶¶ 101, 105, 108, 112, 116, 120-121, 125, 128, 130, 134, 137,
   15   139, Daimler’s publicly-traded ADRs traded at artificially inflated prices during
   16   the Class Period. Specifically, Defendants’ misrepresentations and omissions
   17   regarding (1) the true capabilities of its BlueTEC diesel engines to produce “clean
   18   diesel” emissions and (2) the Company’s use of a defeat device to comply with
   19   emissions testing caused and/or maintained the artificial inflation in Daimler’s
   20   ADR price during the Class Period. Relying on the integrity of the market price
   21   for Daimler ADRs and public information relating to Daimler and Mercedes-
   22   Benz, Lead Plaintiff and other Class members purchased or otherwise acquired
   23   Daimler ADRs at prices that incorporated and reflected Defendants’
   24   misrepresentations and omissions of material fact alleged herein. As a result of
   25   their purchases of Daimler ADRs during the Class Period at artificially inflated
   26   prices and the removal of that inflation upon the partial disclosures set forth
   27
   28
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    1   below, Lead Plaintiff and the Class suffered economic losses, i.e., damages under
    2   the federal securities laws.
    3           161. Defendants’ false and misleading statements, material omissions and
    4   course of conduct had their intended effect, directly and proximately causing
    5   Daimler ADRs to trade at artificially inflated prices during the Class Period.
    6   Specifically, DDAIF traded as high as $100.32 per ADR share on May 21, 2015;
    7   and DDAIY traded as high as $100.31 per ADR share on May 21, 2015. All
    8   misrepresentations and omissions of material fact which were not immediately
    9   followed by an upward movement in the price of Daimler ADRs served to
   10   maintain the artificially inflated price of Daimler ADRs.
   11           162. Had Defendants been truthful about these matters during the Class
   12   Period, Lead Plaintiff and other members of the Class would not have purchased
   13   or otherwise acquired their Daimler ADRs at the artificially inflated prices at
   14   which they traded.              It was entirely foreseeable to the Defendants that
   15   misrepresenting and concealing these material facts from the public would
   16   artificially inflate the price of, or artificially maintain an elevated price for,
   17   Daimler ADRs.
   18           163. The economic losses, i.e., damages, suffered by Lead Plaintiff and
   19   other members of the Class were a direct, proximate, and foreseeable result of
   20   Defendants’ materially false and misleading statements and omissions of material
   21   fact, which artificially inflated the price of Daimler ADRs, and the subsequent
   22   significant decline in the value of the Company’s ADRs when the relevant truth
   23   was revealed and/or the risks previously concealed by Defendants’ material
   24   misrepresentations and omissions materialized.
   25           164. Defendants’ false and misleading statements and omissions about (1)
   26   the true capabilities of its BlueTEC diesel engines to produce “clean diesel”
   27   emissions and (2) the Company’s use of a defeat device to comply with emissions
   28
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    1   testing, caused and/or maintained the artificial inflation in Daimler ADRs
    2   throughout the Class Period until the relevant truth concealed and/or obscured by
    3   Defendants’ misconduct were revealed to the market. These revelations occurred
    4   through at least two partial corrective disclosures, on September 21, 2015 and
    5   April 21, 2016, as detailed in ¶¶ 165-170, infra. The timing and magnitude of the
    6   declines in the price of Daimler ADRs, as detailed herein, negate any inference
    7   that the losses suffered by Lead Plaintiff and members of the Class were caused
    8   by changed market factors or other macroeconomic factors unrelated to
    9   Defendants’ fraudulent conduct.
   10           165. The disclosure that Daimler light-duty and passenger diesel vehicles
   11   actually emitted, under real-world conditions, significantly more pollutants than
   12   disclosed by the Company’s announced testing results was a foreseeable
   13   consequence of, and within the zone of risk concealed by, the Defendants’
   14   misrepresentations and omissions concerning the true scope and adequacy of
   15   emissions controls present and operative in the Affected Models, and whether
   16   those Affected Models complied with EPA and European emissions standards.
   17   Moreover, the September 21, 2015 disclosure revealed new information that was
   18   previously concealed and/or obscured by the Defendants’ misstatements,
   19   omissions and fraudulent course of conduct. These disclosures partially (but
   20   incompletely) revealed some of the relevant truth concealed and/or obscured by
   21   Defendants’ prior misstatements and omissions surrounding emissions controls
   22   applied to the Company’s diesel cars and vans.
   23           166. As a direct and proximate result of this partial disclosure and/or
   24   materialization of foreseeable risks concealed by the Defendants’ fraud, shares of
   25   the Daimler ADRs dropped approximately 7% on heavy trading; shares of
   26   DDAIF fell $5.38 per share from its previous closing price to close at $74.30 per
   27   share on September 22, 2015, while shares of DDAIY fell $5.44 per share from
   28
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    1   its previous closing price to close at $74.01 per share on September 22, 2015,
    2   thereby partially removing the artificial inflation in Daimler ADRs.
    3           167. On April 21, 2016, Daimler issued a press release entitled “Daimler
    4   conducts internal investigation regarding its certification process related to
    5   exhaust emissions in the United States,” announcing that the Company was
    6   investigating “possible indications of irregularities” at the request of the U.S.
    7   Department of Justice (the “DOJ”), stating in part:
    8                    Daimler AG conducts an internal investigation regarding its
                         certification process related to exhaust emissions in the United
    9                    States upon the request of the [DOJ]. Daimler is cooperating
                         fully with the authorities.        Daimler will consequently
   10                    investigate possible indications of irregularities and of course
                         take all necessary actions.
   11
                         The company’s experience with the U.S. authorities has
   12                    clearly shown that a conservative communication supports the
                         constructive dialogue with the authorities.
   13
                168. The Company stated in a press release the following day:
   14
                         U.S. [DOJ] requests internal investigation. The U.S. [DOJ]
   15                    has requested from Daimler AG on April 15, 2016, by
                         pointing out the strict confidentiality of the matter, to review
   16                    its certification and admissions process related to exhaust
                         emissions in the United States by way of an internal
   17                    investigation in cooperation with the DOJ. Daimler has
                         agreed to cooperate fully with the DOJ.
   18
                169. In addition to the announcement of the DOJ’s investigation, the
   19
        Company received even more bad news on April 21, 2016, when the KBA, the
   20
        German Federal Motor Transport Authority, released a report announcing the
   21
        results of emissions testing on 53 different vehicle models. The report concluded
   22
        that at least two Mercedes-Benz BlueTEC vehicles “adjust the efficiency of their
   23
        emission control system to driving conditions and environmental conditions.
   24
        This corresponds to a defeat device according to the definition set forth in Article
   25
        3 of the Regulation (EC) No. 715/2007.”                         Although several manufacturers
   26
        claimed that the measures were intended to protect the engine or otherwise ensure
   27
        safe operations, the report concluded further that for at least these two Mercedes
   28
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    1   models, “the Commission of Inquiry of the BVMI has doubts regarding the
    2   lawfulness of the defeat device used.”
    3           170. Reuters announced before the market opened the following day that
    4   “German automakers to recall 630,000 cars to fix emissions.” This included
    5   630,000 vehicles from manufacturers including Porsche, VW, Opel, Audi, and
    6   Mercedes-Benz, recalled to “tweak diesel engine software [] blamed for causing
    7   high pollution.” The Financial Times quoted a Company spokesperson who said
    8   that Daimler and Mercedes-Benz would be recalling 247,000 vehicles.
    9           171. As a direct and proximate result of these final corrective disclosures
   10   and/or materializations of foreseeable risks concealed by Defendants’ fraud, the
   11   prices of Daimler ADRs dropped approximately 5% on April 21 and 22, 2016.
   12   Shares of DDAIF fell $3.79 per share over those two trading days to close at
   13   $70.85 per share on April 22, 2016; shares of DDAIY fell $3.94 per share over
   14   those two trading days to close at $70.76 per share on April 22, 2016, thereby
   15   fully removing the artificial inflation in the Daimler ADRs.
   16   IX.     CONTROL PERSON ALLEGATIONS
   17           172.      By virtue of the Individual Defendants’ positions of management
   18   and control within the Company, they had access to undisclosed adverse
   19   information about Daimler’s operations and performance, including (1) the true
   20   capabilities of its BlueTEC diesel engines to produce “clean diesel” emissions
   21   and (2) the Company’s use of a defeat device to comply with emissions testing, as
   22   particularized herein. The Individual Defendants ascertained such information
   23   through Daimler’s internal corporate documents, and connections with each other
   24   and with corporate officers and employees, attendance at Board of Management
   25   meetings, including committees thereof, and through reports and other
   26   information provided to them in connection with their roles and duties as Daimler
   27   officers, members of the Board of Management, and as managers.
   28
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    1           173. The Individual Defendants participated in the drafting, preparation
    2   and/or approval of the various public investor reports and other communications
    3   complained of herein, and knew or with deliberate recklessness disregarded that
    4   there were material misstatements and omissions contained therein. Because of
    5   their Board or executive or managerial positions with Daimler, each of the
    6   Individual Defendants had access to the adverse undisclosed information about
    7   Daimler’s operations and performance, including information about (1) the true
    8   capabilities of its BlueTEC diesel engines to produce “clean diesel” emissions
    9   and (2) the Company’s use of a defeat device to comply with emissions testing as
   10   particularized herein, and knew (or were deliberately reckless in not knowing)
   11   that these adverse events rendered the positive representations made by or about
   12   Daimler and its business, or adopted by the Company, materially false and
   13   misleading.
   14           174. The Individual Defendants, because of their positions of control and
   15   authority as officers of the Company or members of Daimler’s Board of
   16   Management, were able to and did control the content of various financial
   17   statements, press releases, and other public statements made by or pertaining to
   18   the Company during the Class period. Each Individual Defendant was provided
   19   with copies of the documents alleged herein to be misleading before or shortly
   20   after their issuance, and had the ability and opportunity to prevent their issuance
   21   or cause them to be corrected. Accordingly, each of the Individual Defendants is
   22   responsible for the accuracy of the public reports and releases detailed herein, and
   23   is therefore primarily liable for the representations therein.
   24           175. As officers, members of the Board of Management, and controlling
   25   persons of a publicly held company whose ADRs are governed by the provisions
   26   of the federal securities laws, the Individual Defendants each had a duty to
   27   promptly disseminate accurate and truthful information with respect to the
   28
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    1   Company’s operations and performance, including information regarding (1) the
    2   Company’s diesel cars and vans’ use a defeat device; and (2) that such cars and
    3   vans’ emitted many multiples of the maximum regulatory limits for emissions of
    4   exhaust pollutants such as NOx, as particularized herein, and to correct any
    5   previously issued statements that had become materially misleading or untrue, so
    6   that the market prices of the Company’s publicly traded ADRs would be based on
    7   truthful and accurate information.                     The Individual Defendants’ material
    8   misrepresentations and omissions during the Class Period violated these specific
    9   requirements and obligations.
   10   X.      CLASS ACTION ALLEGATIONS
   11           176.     Lead Plaintiff brings this action on behalf of itself and as a class
   12   action, pursuant to Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure,
   13   on behalf of a Class consisting of all persons and entities that, during the Class
   14   Period, purchased or otherwise acquired Daimler ADRs and were damaged
   15   thereby.      Excluded from the Class are Defendants, members of Defendants’
   16   immediate families (as defined in 17 C.F.R. § 229.404, Instructions (1)(a)(iii) and
   17   (1)(b)(ii)), any person, firm, trust, corporation, officer, member of the Board of
   18   Management, or other individual or entity in which any Defendant has a
   19   controlling interest, or which is related to or affiliated with any of the Defendants,
   20   and the legal representatives, agents affiliates, heirs, successors-in-interest, or
   21   assigns of any such excluded party.
   22           177. The members of the Class are so numerous and geographically
   23   dispersed that joinder of all members is impracticable. While the exact number of
   24   Class members is unknown to Lead Plaintiff at this time and can only be
   25   ascertained through appropriate discovery, Lead Plaintiff believes that there are at
   26   least thousands of the proposed Class. At the end of the Class Period, Daimler
   27   ADRs were held by thousands of persons, and actively traded on over-the-counter
   28
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    1   markets. The disposition of their claims in a class action will provide substantial
    2   benefits to the parties and the Court. Record owners and other members of the
    3   Class may be identified from records maintained by Daimler or its transfer agent,
    4   and may be notified of the pendency of this action by a combination of published
    5   notice and first-class mail, using the techniques of notice similar to that
    6   customarily used in class actions arising under the federal securities laws.
    7           178. There is a well-defined commonality of interest in the questions of
    8   law and fact involved in this Case.                   Questions of law and fact common to
    9   members of the Class that predominate over questions that may affect individual
   10   Class members include:
   11                    (a)     whether Defendants’ actions as alleged herein violated the
   12           federal securities laws;
   13                    (b)     whether Defendants’ statements and/or omissions issued
   14           during the Class Period were materially false and misleading;
   15                    (c)     whether Defendants knew or were deliberately reckless in not
   16           knowing that their statements were false and/or misleading;
   17                    (d)     whether and to what extent the market prices of Daimler
   18           ADRs were artificially inflated and/or distorted before and/or during the
   19           Class Period due to the misrepresentations and/or omissions of material
   20           fact alleged herein; and
   21                    (e)     whether and to what extent Class members sustained damages
   22           as a result of the conduct alleged herein, and the appropriate measure of
   23           any such damages.
   24           179. Lead Plaintiff’s claims are typical of the claims of the other members
   25   of the Class, as all members of the Class purchased or otherwise acquired
   26   Daimler ADRs during the Class Period and similarly sustained damages as a
   27   result of Defendants’ wrongful conduct alleged herein. Lead Plaintiff will fairly
   28
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    1   and adequately protect the interests of the members of the Class. Lead Plaintiff
    2   has retained counsel competent and experienced in class action securities
    3   litigation to further ensure such protection, and intends to prosecute this action
    4   vigorously. Lead Plaintiff has no interests that are adverse or antagonistic to
    5   those of the Class.
    6           180. A class action is superior to other available methods for the fair and
    7   efficient adjudication of this controversy. Because the damages suffered by each
    8   individual member of the Class may be relatively small, the expense and burden
    9   of individual litigation make it impracticable for individual Class members to
   10   seek redress for the wrongful conduct alleged herein. Lead Plaintiff knows of no
   11   difficulty that will be encountered in the management of this litigation that would
   12   preclude its maintenance as a class action.
   13   XI.     LEAD PLAINTIFF AND CLASS MEMBERS ARE
                ENTITLED TO A PRESUMPTION OF RELIANCE
   14
                181. Lead Plaintiff and members of the Class are entitled to rely upon the
   15
        presumption of reliance established by the fraud-on-the-market doctrine in that,
   16
        among other things:
   17
                         (a)     Defendants made public misrepresentations or failed to
   18
                disclose material facts during the Class Period;
   19
                         (b)     the omissions and misrepresentations were material;
   20
                         (c)     Daimler ADRs traded in efficient markets;
   21
                         (d)     the material misrepresentations and omissions alleged herein
   22
                would tend to induce a reasonable investor to misjudge the value of
   23
                Daimler ADRs; and
   24
                         (e)     without knowledge of the misrepresented or omitted facts,
   25
                Lead Plaintiff and other members of the Class purchased or otherwise
   26
                acquired Daimler ADRs between the time that Defendants made material
   27
   28
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    1           misrepresentations and omissions and the time the concealed risks
    2           materialized or the true facts were disclosed.
    3           182. At all relevant times, the market for Daimler ADRs was open and
    4   efficient for the following reasons, among others:
    5                    (a)     Daimler regularly communicated with public investors via
    6           established market communications mechanisms, including through regular
    7           disseminations of press releases on the national circuits of major newswire
    8           services and through other wide-ranging public disclosures, such as
    9           securities analysts, and other similar reporting services;
   10                    (b)     Daimler was followed by numerous securities analysts
   11           employed by major brokerage firms who wrote reports that were
   12           distributed to the sales force and certain customers of their respective
   13           brokerage firms and that were publicly available and entered the public
   14           marketplace; and
   15                    (c)     Daimler ADRs met all of the requirements for trading, and
   16           were actively traded on highly efficient over-the-counter markets under the
   17           ticker symbols “DDAIY” and “DDAIF.”
   18           183. As a result of the foregoing, the markets for Daimler ADRs promptly
   19   digested current information regarding Daimler from all publicly available
   20   sources, and the prices of Daimler’s ADRs reflected such information.
   21           184. Based upon the materially false and misleading statements and
   22   omissions of material fact alleged herein, Daimler ADRs traded at artificially
   23   inflated prices during the Class Period. Lead Plaintiff and the other members of
   24   the Class purchased Daimler ADRs relying upon the integrity of the market price
   25   of Daimler ADRs and other market information relating to Daimler. Under these
   26   circumstances, all purchasers of Daimler ADRs during the Class Period suffered
   27
   28
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    1   similar injuries through their purchases at artificially inflated prices, and a
    2   presumption of reliance applies.
    3           185. Further, at all relevant times, Lead Plaintiff and other members of
    4   the Class reasonably relied upon Defendants to disclose material information as
    5   required by the law and in the Company’s publicly available financial statements.
    6   Lead Plaintiff and other members of the Class would not have purchased or
    7   otherwise acquired Daimler ADRs at artificially inflated prices if Defendants had
    8   disclosed all material information as required. Thus, to the extent that Defendants
    9   concealed or improperly failed to disclose material facts with regard to the
   10   Company and its business, Lead Plaintiff is entitled to a presumption of reliance
   11   in accordance with Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128,
   12   153 (1972).
   13   XII. CAUSES OF ACTION
   14                                                  COUNT I
   15
                                Asserted Against All Defendants for
   16                  Violations of Section 10(b) of the Securities Exchange
                     Act of 1934 and SEC Rule 10b-5 Promulgated Thereunder
   17
   18           186. Lead Plaintiff repeats and realleges each and every allegation
   19   contained above as if fully set forth herein. This Count is brought pursuant to
   20   Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5
   21   promulgated thereunder by the SEC, 17 C.F.R. § 240.10b-5, on behalf of Lead
   22   Plaintiff and all other members of the Class against Daimler and the Individual
   23   Defendants.
   24           187. During the Class Period, Defendants carried out a plan, scheme and
   25   course of conduct which was intended to and, throughout the Class Period, did: (i)
   26   deceive the investing public, including Lead Plaintiff and other Class members,
   27   regarding the intrinsic value of Daimler ADRs, as alleged herein; (ii) artificially
   28   inflate the price of Daimler ADRs, and (iii) cause Lead Plaintiff and other
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    1   members of the Class to purchase Daimler ADRs at artificially inflated prices that
    2   did not reflect their true value. In furtherance of this unlawful scheme, plan, and
    3   course of conduct, Defendants took the actions set forth herein.
    4           188. Defendants directly and indirectly, by the use of means and
    5   instrumentalities of interstate commerce, the mails, and/or the facilities of a
    6   national securities exchange: (i) employed devices, schemes, and artifices to
    7   defraud; (ii) made untrue statements of material fact and/or omitted material facts
    8   necessary to make the statements not misleading; and (iii) engaged in acts,
    9   practices, and a course of business that operated as a fraud and deceit upon the
   10   purchasers of Daimler’s ADRs in an effort to maintain the artificially inflated
   11   price of Daimler ADRs in violation of Section 10(b) of the Exchange Act, and
   12   Rule 10b-5 promulgated thereunder.
   13           189. Defendants employed devices, schemes, and artifices to defraud
   14   while in possession of material adverse nonpublic information and engaged in
   15   acts, practices, and a course of conduct as alleged herein in an effort to assure
   16   investors of Daimler’s value and performance, which included the making of
   17   untrue statements of material facts and omitting material facts necessary in order
   18   to make their statements, in light of the circumstances under which they were
   19   made, not misleading, as set forth more particularly herein. Defendants did not
   20   have a reasonable basis for their alleged false statements and engaged in
   21   practices, and a course of business which operated as a fraud and deceit upon the
   22   purchasers of Daimler ADRs during the Class Period.
   23           190. Defendants are liable for all materially false and misleading
   24   statements and omissions made during the Class Period, as alleged above,
   25   including the false and misleading statements and omissions included in press
   26   releases, conference calls, public filings, news media, blogs, and Daimler’s
   27   website.
   28
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    1           191. Defendants are further liable for the false and misleading statements
    2   made by Daimler’s officers, management, members of the Board of Management,
    3   and agents in press releases, conference calls, conferences with investors and
    4   analysts, news media, blog reports, and Daimler’s website, as alleged above, as
    5   they either made or controlled such statements and had ultimate authority and
    6   responsibility for the contents thereof.
    7           192. Defendants’ material misrepresentations and/or omissions were done
    8   knowingly or with deliberate recklessness, and without a reasonable basis, for the
    9   purpose and effect of concealing from the investing public the relevant truth, and
   10   misstating the intrinsic value of Daimler ADRs. By concealing material facts
   11   from investors, Defendants maintained the Company’s artificially inflated ADR
   12   prices throughout the Class Period.
   13           193. In ignorance of the fact that the price of Daimler ADRs was
   14   artificially inflated, and relying directly or indirectly on the false and misleading
   15   statements and omissions made by Defendants, or upon the integrity of the market
   16   in which the ADRs trade, and/or on the absence of material adverse information
   17   that was known to or with deliberate recklessness disregarded by Daimler but not
   18   disclosed in public statements by Daimler during the Class Period, Lead Plaintiff
   19   and the other members of the Class purchased or acquired Daimler ADRs during
   20   the Class Period at artificially inflated prices and were damaged when that
   21   artificial inflation was removed from the price of Daimler ADRs.
   22           194. At the time of said misrepresentations and omissions, Lead Plaintiff
   23   and other members of the Class were ignorant of their falsity, and believed them
   24   to be true.        Had Lead Plaintiff, the other members of the Class, and the
   25   marketplace known of the truth concerning the Company’s conduct and the
   26   intrinsic value of Daimler ADRs, Lead Plaintiff and other members of the Class
   27   would not have purchased or acquired their Daimler ADRs, or, if they had
   28
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    1   purchased or acquired their Daimler ADRs during the Class Period, they would
    2   not have done so at the artificially inflated prices they paid.
    3           195. By virtue of the foregoing, Defendants have violated Section 10(b)
    4   of the Exchange Act and Rule 10b-5 promulgated thereunder.
    5           196. As a direct and proximate result of Defendants’ wrongful conduct,
    6   Lead Plaintiff and other members of the Class suffered damages in connection
    7   with their respective purchases and/or acquisitions of Daimler ADRs during the
    8   Class Period.
    9                                                  COUNT II
   10
            Asserted Against the Individual Defendants and Daimler for Violations
   11               of Section 20(a) of the Securities Exchange Act of 1934
   12           197. Lead Plaintiff repeats and realleges each and every allegation
   13   contained above as if fully set forth herein. This Count is brought pursuant to
   14   Section 20(a) of the Exchange Act, 15 U.S.C. § 78t(a), on behalf of Lead Plaintiff
   15   and all other members of the Class against the Individual Defendants.
   16           198. At all relevant times during the Class Period, Defendant Zetsche was
   17   the Chairman of the Board of Management of Daimler AG and Head of
   18   Mercedes-Benz Cars division; Defendant Uebber was a Member of the Board of
   19   Management of Daimler AG and Head of Finance & Controlling and Mergers &
   20   Acquisitions for Daimler; and Defendant Weber was a Member of the Board of
   21   Management of Daimler AG and Head of Group Research & Mercedes-Benz
   22   Cars Development. As such, the Individual Defendants had regular access to
   23   non-public information about Daimler’s business, operations, performance, and
   24   future prospects through access to internal corporate documents and information,
   25   conversations, and connections with other corporate officers and employees,
   26   attendance at management meetings of the Company’s Board and committees
   27
   28
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    1   thereof, as well as reports and other information provided to them in connection
    2   therewith.
    3           199. The Individual Defendants acted as controlling persons of Daimler
    4   within the meaning of Section 20(a) of the Exchange Act as alleged herein. By
    5   virtue of their high-level positions, and their ownership and contractual rights,
    6   participation in and/or awareness of Daimler’s day-to-day operations, and/or
    7   knowledge of statements made by the Company and disseminated to the investing
    8   public, the Individual Defendants had the power to influence and control, and did
    9   influence and control, directly or indirectly, the decision-making of the Company
   10   and its executives, including the content and dissemination of the various
   11   statements that Lead Plaintiff alleges were false and misleading at the time they
   12   were made.
   13           200. The Individual Defendants were provided with or had unlimited
   14   access to copies of the Company’s reports, press releases, public filings and other
   15   statements alleged by Lead Plaintiff to have been false and misleading prior to
   16   and/or shortly after these statements were issued and had the ability to prevent the
   17   issuance of the statements or cause the statements to be corrected.
   18           201. In particular, each of these Individual Defendants had direct and
   19   supervisory involvement in and control of the day-to-day operations of the
   20   Company and, therefore, is presumed to have had the power to control or
   21   influence the particular conduct and transactions giving rise to the securities
   22   violations as alleged herein, and exercised the same.
   23           202. Defendant Daimler likewise acted as a controlling person of
   24   MBUSA within the meaning of Section 20(a) of the Exchange Act as alleged
   25   herein.      By virtue of the fact that MBUSA was Daimler’s wholly owned
   26   subsidiary, and by virtue of Daimler’s direct participation in and/or awareness of
   27   MBUSA’s day-to-day operations, and/or knowledge of statements alleged herein
   28
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    1   to be false and misleading which were disseminated to the investing public,
    2   Daimler had the power to influence and control, and did influence and control,
    3   directly or indirectly, the decision-making of MBUSA and its executives,
    4   including the content and dissemination of the various statements that Lead
    5   Plaintiff alleges were false and misleading at the time they were made.
    6           203. As set forth above, Daimler, MBUSA and the Individual Defendants
    7   each violated Section 10(b) and Rule 10b-5 by their acts, statements and
    8   omissions as alleged in this Complaint. By virtue of their positions as controlling
    9   persons, the Individual Defendants and Daimler are liable pursuant to Section
   10   20(a) of the Exchange Act. As a direct and proximate result of Defendants’
   11   wrongful conduct, Lead Plaintiff and other members of the Class suffered
   12   damages in connection with their purchases of Daimler ADRs during the Class
   13   Period.
   14   XIII. PRAYER FOR RELIEF
   15           WHEREFORE, Lead Plaintiff prays for judgment as follows:
   16           A.       Declaring this action to be a proper class action pursuant to Rule 23
   17   of the Federal Rules of Civil Procedure;
   18           B.       Awarding Lead Plaintiff and the members of the Class damages and
   19   interest thereon;
   20           C.       Awarding Lead Plaintiff’s and the Class’s reasonable costs,
   21   including attorneys’ and experts’ fees; and
   22           D.       Awarding such equitable, injunctive or other relief that the Court
   23   may deem just and proper.
   24   XIV. JURY DEMAND
   25           Lead Plaintiff demands a trial by jury of all issues so triable.
   26
   27
   28
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    1   Dated: October 11, 2016                   LABATON SUCHAROW LLP
    2                                             By:      /s/ James W. Johnson
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    3                                                      Michael H. Rogers
                                                           Matthew J. Hrutkay
    4
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    5                                                      Retirement System of the School
                                                           District of Kansas City, Missouri and
    6                                                      Lead Counsel for the Proposed Class
    7                                                      GLANCY PRONGAY &
                                                             MURRAY LLP
    8                                                      Joshua L. Crowell
    9                                                      Liaison Counsel for the Public School
                                                           Retirement System of the School
   10                                                      District of Kansas City, Missouri and
                                                           Liaison Counsel for the Proposed Class
   11
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        CONSOLIDATED CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS           66
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    1     PROOF OF SERVICE VIA ELECTRONIC POSTING PURSUANT TO
           CENTRAL DISTRICT OF CALIFORNIA LOCAL RULES AND ECF
    2
                         GENERAL ORDER NO. 10-07
    3
    4         I, the undersigned, declare:
    5                 I am over the age of 18 and not a party to the within action. My
    6   business address is Labaton Sucharow LLP, 140 Broadway, New York, New
    7   York 10005.
    8            On October 11, 2016, I served true and correct copies of the following:
    9             CONSOLIDATED              CLASS   ACTION       COMPLAINT         FOR
   10                 VIOLATIONS OF THE FEDERAL SECURITIES LAWS
   11   on all parties through counsel who have appeared in this matter through posting
   12   of these documents to the ECF website of the U.S.D.C. Central District of
   13   California.
   14         I declare under penalty of perjury that the foregoing is true and correct.
   15   Executed at New York, New York on October 11, 2016.
   16
   17           James W. Johnson                       /s/James W. Johnson
               (Type or Print Name)                        (Signature)
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10/11/2016Case                              CM/ECF
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Holdings, Inc. v. Daimler AG et al
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     (No manual recipients)




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